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       EXHIBIT 12
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                                                 Privacy Analysis of Samsung’s Crowd-Sourced Bluetooth
                                                                Location Tracking System
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                                         ABSTRACT                                                                     Google’s Find My Device,1 Samsung’s Find My Mobile (FMM) 2 and
                                         We present a detailed privacy analysis of Samsung’s Offline Finding          Apple’s Find My.3 A typical requirement for such a feature to work
                                         (OF) protocol, which is part of Samsung’s Find My Mobile (FMM) lo-           is that the lost device must be connected to the internet so that it
                                         cation tracking system for locating Samsung mobile devices, such as          can send its location report to a vendor server in the event that
                                         Samsung smartphones and Bluetooth trackers (Galaxy SmartTags).               its owner flags the device as lost. It often comes with additional
                                         The OF protocol uses Bluetooth Low Energy (BLE) to broadcast                 features such as playing sound on the device, locking the device or
                                         a unique beacon for a lost device. This beacon is then picked up             wiping off its data remotely.
                                         by nearby Samsung phones or tablets (the finder devices), which                  In recent years, mobile device manufacturers such as Samsung
                                         then forward the unique beacon, along with the location it was               and Apple have extended their lost-device tracking systems with
                                         detected at, to a Samsung managed server. The owner of a lost                an offline finding (OF) feature, which allows a lost mobile device to
                                         device can then query the server to locate their device. We examine          be found even when it does not have an internet connection. Both
                                         several security and privacy related properties of the OF protocol           Apple and Samsung OF features share two key features: the use of
                                         and its implementation, from the perspectives of the owner, the              Bluetooth Low Energy (BLE) for short range transmission of data
                                         finder and the vendor. These include examining: the possibility              between devices of a vendor, and crucially, an extensive network
                                         of identifying the owner of a device through the Bluetooth data              of (internet-connected) mobile devices (which we call finder de-
                                         obtained from the device, the possibility for a malicious actor to           vices) that relay location information to a vendor controlled server.
                                         perform unwanted tracking against a person by exploiting the OF              We refer to the latter as the OF network. The basic idea is quite
                                         network, the possibility for the vendor to de-anonymise location             simple: when a (lost) device loses its internet connection, it starts
                                         reports to determine the locations of the owners or the finders of           broadcasting a unique beacon over BLE, which is then picked up by
                                         lost devices, and the possibility for an attacker to compromise the          nearby finder devices participating in the OF network, who then
                                         integrity of the location reports. Our findings suggest that there           forward the beacon and the location it is found to a vendor server.
                                         are privacy risks on all accounts, arising from issues in the design         In this work, we are mainly concerned with Samsung’s FMM Offline
                                         and the implementation of the OF protocol.                                   Finding (OF) feature,4 which was introduced in 2020. An owner
                                                                                                                      can track their devices’ locations through Samsung’s proprietary
                                         CCS CONCEPTS                                                                 "Find My Mobile" (FMM) application running in a Samsung mobile
                                                                                                                      device (e.g., a phone or a tablet), provided that the FMM feature is
                                         • Security and privacy → Mobile and wireless security; Secu-
                                                                                                                      enabled for the device.
                                         rity protocols.
                                                                                                                          In 2021, Samsung released the Galaxy SmartTag,5 which is a
                                                                                                                      small BLE tracker that can be attached to various items, such as
                                         KEYWORDS
                                                                                                                      bags, keys, etc., to keep track of their locations and to find them
                                         Location Privacy, Mobile Devices, tracking tags, Bluetooth, Smart-           when lost. Unlike smart phones or tablets, SmarTags are designed
                                         Tags                                                                         exclusively to be used as a tracking device, with no internet connec-
                                                                                                                      tivity. So they rely crucially on the OF network to allow for long
                                         1   INTRODUCTION                                                             range location tracking (outside the range of BLE). SmartTags are
                                         Portable devices such as smart phones and tablets often come with            registered and controlled through SmartThings, which is an um-
                                         a feature that allows their owner to find those devices when they            brella control and management platform for a large variety of smart
                                         are lost, typically through the use of a web portal provided by their        devices and home appliances. OF is also supported for SmartTags
                                         vendors. For such a feature to work, the owner would have to grant
                                         a permission for the device to share their locations periodically with       1 https://www.google.com/android/find/
                                         the vendor. Examples of such a lost-device finding feature include           2 https://findmymobile.samsung.com/
                                                                                                                      3 https://support.apple.com/find-my
                                         Technical Report, 2023, ANU                                                  4 https://www.samsung.com/au/apps/find-my-mobile/

                                         2023. https://doi.org/XXXXXXX.XXXXXXX                                        5 https://en.wikipedia.org/wiki/Samsung_Galaxy_SmartTag

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using the "SmartThings Find" add-on which works in conjunction              under the right circumstances, can act as an ad hoc measure for
with FMM.                                                                   addressing unwanted tracking (RQ2).
    At a basic level, devices in Samsung’s OF network can be catego-
                                                                               Summary of contributions. To the best of our knowledge, we are
rized into three roles: the owner device, the finder device, and the
                                                                            the first to provide a detailed analysis on Samsung offline-finding
lost device. A mobile device can be registered to the Samsung OF
                                                                            protocols and its privacy issues. More precisely, our contributions
network through the FMM app, while a SmartTag can be registered
                                                                            are the following:
through Samsung SmartThings app. Each registered device is linked
to the owner account under which it was registered from. When                    • We provide a comprehensive reverse-engineering of Sam-
a registered device loses internet connectivity, or in the case of                  sung OF protocols for both mobile devices and SmartTags.
SmartTags, when it is out of the BLE range from its owner device,                   This includes the registration protocols for SmartTags, the
it broadcasts certain data over BLE periodically. This data contains                cryptographic methods for generating unique identifiers for
a rotating identifier, called the privacy ID, which is unique to the                lost devices, the protocol for the finder devices to report
lost device and which, in theory, can only be linked to its owner                   location information to Samsung, and the protocol for the
by Samsung and the owner device. The finder devices consist of                      owners to query the location of their lost devices. This effort
both Samsung devices (phones and tablets), and some third parties’                  allows us to answer definitively the research questions raised
devices with FMM enabled. An active finder device periodically                      above (RQ1 to RQ3).
scans for BLE advertisements from nearby FMM devices and re-                     • We identified several vulnerabilities in both FMM and Smart-
ports the locations of those devices to a Samsung’s server. The                     Tags that would allow an attacker to link BLE packets ob-
location reports of the lost devices will be downloaded onto the                    served from a target device over multiple observations, through
owner device when the owner queries the locations of their lost                     BLE interactions only. This allows us to conclude definitively
devices. The effectiveness of the OF feature depends on the size of                 that long term identification of a device or a tag (RQ1) is
its OF network, i.e., the number of phones or tablets participating                 possible through its BLE data only.
in the network. In the case of Samsung OF network, it is estimated               • Through our analysis of the OF protocols, we managed to
to have around 200 million active finder devices [12] in 2022.                      impersonate completely a SmartTag to the OF networks.
    This paper describes in detail the design and the implementation                This opens the possibility of creating a custom tracking de-
of Samsung’s OF protocol for FMM and SmartTags, and analyse its                     vice that can be tuned to circumvent potential anti-tracking
security and privacy. We focus on the following research questions:                 mechanisms by the vendor.
                                                                                 • Our analysis also confirmed that unwanted tracking (RQ2)
(RQ1) Identification of an FMM device or a SmartTag. Can an FMM                     is possible. This is, however, a rather easy observation as
     device or a SmartTag be identified through its BLE data?                       Samsung (at the time of writing) only implements a very
(RQ2) Unwanted tracking. Can Samsung OF network be misused                          basic anti-tracking mechanism that is targetted at observing
     for unwanted tracking of a person or an object by a party                      BLE data from SmartTags. Given our result above, it is quite
     other than Samsung?                                                            straightforward to circumvent this detection by crafting a
(RQ3) End-to-end location privacy. To what extent does the design                   custom tracking device leveraging Samsung’s OF network.
     of the OF network protocol protect the location privacy of the              • Our analysis of the registration process and the location
     lost devices and the finder devices from the service provider                  report/querying protocols suggests that the vendor does in-
     (Samsung)?                                                                     deed possess the information needed to link an account to a
(RQ4) Location report integrity. Is it possible for an actor (other                 location report, so currently Samsung OF network does not
     than the owner and the vendor) to forge a location report of                   guarantee end-to-end privacy for their users (RQ3). More-
     a lost device?                                                                 over, the vendor server does not appear to check the integrity
RQ1 centers around the privacy protection of the owner of an FMM                    of the location reports, opening it to manipulation by third
device or a SmartTag against (long term or short term) tracking                     parties to forge the location reports (RQ4).
of their location through the BLE data emitted by the device, by
a third party adversary (other than the owner and the vendor).              Coordinated disclosure
RQ2 addresses a recent phenomenon, mostly associated with Apple             We have reported our findings related to RQ1, RQ2 and RQ4 to
AirTags, where the tags were used by their owner to stalk a person          Samsung in late January 2022. One of the issues we raised concerns
against their consent [8]. In this case the victim of an unwanted           the small pool of privacy IDs being used for FMM BLE packets,
tracking may even be someone who does not own any devices from              which has now been publicly acknowledged and assigned SVE-
the vendor and thus not participating in the OF network. RQ3 raises         2022-0126 ("Improper identifier creation logic in Find My Mobile ")
the question as to what extent Samsung is aware of the movement             and registered as CVE-2022-33707 at MITRE. Samsung claimed that
of both the owners of the devices being tracked and the finder              they have fixed this issue in the July 2022 update to the FMM app,
devices. Whereas Apple advertised their OF network as providing             however at the time of writing, we have not yet tested whether the
end-to-end privacy, in the sense that the service provider (Apple)          fix addresses the issues related to RQ1. Samsung has also issued us
has no way of recovering the location information sent through its          a bug bounty reward for this report. The issues affecting SmartTags
OF network [1], Samsung provided no such claim as far as we are             have not yet been completely resolved. Samsung claimed they have
aware of. RQ4 is more of a security (integrity) issue rather than a         addressed some of the issues we raised in a firmware update to
privacy one. However, the possibility of disrupting location reports,       SmartTags, but we have not yet performed detailed analysis on the
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updates. Samsung did confirm that they would not fix the issue of de-                chips to dump the firmware of SmartTags and released the dumped
anonymisation through BLE DFU mode (see Section 5.1.3) as they                       firmware images and information related to the attack,7 although
claimed it would interfere with their device firmware download                       as far as we know the author did not attempt a reverse engineering
and update process at their repair centre. We have allowed ample                     of the OF protocol for SmartTags.
time for Samsung to address these issues, exceeding the industry
                                                                                        Bluetooth trackers from other vendors. Apple and Samsung are
standard of 90-day embargo period, hence the publication of these
                                                                                     relatively newcomers when it comes to bluetooth tracking dvices.
details.
                                                                                     There were already a number of bluetooth trackers in the market
Related work                                                                         prior to the introduction of AirTags and SmartTags, notably the
                                                                                     Tile tracker; see Weller et. al. [21] for a recent survey on these
We now provide a literature review on existing security and privacy                  trackers. Weller et. al. also presented a detailed analysis of the secu-
analysis of Samsung and Apple’s Bluetooth trackers, Offline Finding                  rity and privacy aspects of various commercial Bluetooth trackers,
(OF) networks, continuity protocols, and other relevant products                     including Nut, Smart Tracker, Tile, Musegear finder, iTrackEasy,
that implement Bluetooth technology.                                                 Cube Tracker, Keeper, iTracing, iSearching, and FindELFI, focusing
   Apple’s Offline Finding Network. The closest to our work is the                   on the interactions of these finders, their associated mobile apps
security and privacy analysis of Apple’s FindMy offline-finding net-                 and the backend cloud servers for crowdsourced location tracking.
work by Heinrich, et. al. [15]. Their study uncovered two design and                 However, they did not analyse the privacy issues arising from the
implementation flaws outside Apple’s adversary model that could                      BLE protocols used in these trackers.
lead to location correlation attacks and unauthorized access to lo-                     Anti-Tracking Technologies. Apple’s FindMy network consists of
cation histories of the past week. They reverse-engineered FindMy                    hundreds of millions of active devices, which has raised a concern
protocols and showed that one could create custom tracking devices                   on whether an attacker can abuse the network for malicious track-
leveraging on the FindMy network through their OpenHaystack                          ing. Apple has developed and implemented an in-built anti-tracking
framework.6                                                                          framework, which would send users a safety alert if it is detected
   Samsung FMM App. Researchers at Char49 discovered several                         that they have been followed by an unknown FindMy tracker.
vulnerabilities [7] in an earlier version of Samsung FMM app, al-                       In 2021, Mayberry et al. analysed the effectiveness of Apple’s
lowing, among others, a malicious app installed in the phone to                      in-built anti-tracking mechanisms, then developed and confirmed
manipulate the URL endpoint accessed by the FMM app, and to ac-                      three techniques to defeat the mechanisms [17]. The first technique
cess unprotected broadcast receivers in the FMM app. This analysis                   is Bit Flipping. The OF advertisement data of FindMy supported
was done prior to the introduction of the offline-finding features to                devices follows a fixed structure, where type of the device is stored
FMM, so it did not cover the OF related vulnerabilities.                             in byte 2 of the advertisement data. Mayberry et al. found that when
                                                                                     byte 2 is set to 0x00, which indicates that the device type is iPhone,
   Hardware and firmware security of AirTags and SmartTags. Both                     FindMy would not report the device as a tracker regardless of its
Apple AirTags and Samsung SmartTags are implemented using                            tracking period and distance. A legitimate FindMy device broadcasts
the nRF52 series of System on Chips (SoC). The nRF52 series have                     OF data containing a rolling key shared between the owner and the
been used for a wide range of Internet of Things (IoT) devices; they                 device when it is away from the owner and performs MAC address
support a variety of wireless communication protocols, such as                       randomization and advertisement data rotation in-sync every 24
Bluetooth LE and Bluetooth Mesh. However, the nRF52 series chips                     hours. The other two techniques are both based on frequent Key
are known to be vulnerable to power glitching attacks. AirTags use                   Rotations to prevent anti-tracking algorithms from identifying a
the nRF52832 chip for BLE and Near Field Communication (NFC)                         tracker device based on the key. The difference is that in the second
connectivity. Roth et. al. analysed the hardware and the firmware                    technique, a new key is selected from a large pre-generated set
security of AirTags, and documented AirTags’ communication pro-                      of valid keys when rotating the advertisement data. In the last
tocols in detail [19]. The main firmware of the AirTag was extracted                 technique, each new key is generated deterministically using the
through voltage glitching attacks on its nRF chip. By reprogram-                     rolling key generation algorithm used by FindMy devices. Mayberry
ming the firmware and changing the configuration data, they were                     et al.’s study has shown that the iOS tracking detection is unable to
able to                                                                              detect FindMy trackers with fast advertisement payload rotations
     • modify the internal behavior of AirTags, including cloning                    or mark devices broadcasting OF data in the lost iPhone format as
        an AirTag, customizing the soundset of the AirTag, using                     trackers. Therefore, an adversary can easily bypass Apple’s anti-
        the AirTag’s accelerometer as microphone;                                    tracking mechanism by customizing a Bluetooth capable device
     • change the BLE and NFC behavior of AirTags which can                          that implements either of the above techniques and track a target
        potentially be exploited for malicious purposes.                             without being detected.
By instrumenting the iPhone-AirTag interface, they were also able                       AirGuard is an anti-tracking application designed and developed
to unlock undocumented commands and features on AirTags over-                        by researchers from SEEMOO lab [14]. AirGuard is an open-sourced
the-air without hardware modification.                                               Android application that was mainly designed to protect Android
   Galaxy SmartTags use the Nordic nRF52833 chip. Luca Bongiorni                     users from BLE trackers that leverage on Apple’s OF network. The
exploited a voltage fault injection vulnerability on the nRF52833                    experiment results show that AirGuard achieved a higher success
6 https://github.com/seemoo-lab/openhaystack                                         7 https://github.com/whid-injector/Samsung-SmartTag-Hack

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rate, a lower false positive rate, and lower notification delay in iden-       Outline
tifying and reporting trackers under various tracking scenarios in             The remainder of the paper is structured as follows: We give a brief
comparison to Apple’s in-built anti-tracking feature. The AirGuard             overview of some basic cryptographic operations related to Sam-
categorizes devices into 5 types: Apple device, Airpod, FindMy ac-             sung’s OF protocols in Section 2. In Section 3 and 4, we present the
cessory, AirTag, and Tile tracker. At the time of writing, AirGuard            technical details of OF protocols for FMM and SmartTags that result
does not yet support detection of SmartTags.                                   from our reverse engineering efforts. In Section 5, we perform a
                                                                               security and privacy analysis on Samsung’s OF feature based on our
                                                                               findings discussed in previous sections and list each vulnerabilities.
   Analysis of Apple’s Continuity Protocols. Continuity protocols are          Finally, Sections 6 and 7 concludes our work with a discussion of
underlying protocols used for Apple’s continuity services, which               the impact.
aim to allow different devices within Apple’s ecosystem to share
data seamlessly. The protocols rely on BLE for data exchange.                  2     BACKGROUND
Celosia et. al. [6] reverse engineered Apple’s continuity protocols            This section gives a very brief overview of the relevant crypto-
and uncovered several implementation issues that can be used for               graphic functions used in the Samsung OF protocols and some
passive and active tracking attacks, including: broadcast of Blue-             basic concepts related to BLE.
tooth data on identity addresses, infrequent randomization of MAC
addresses, identifiers and other sensitive information contained in            2.1    ECDH key exchange and AES block cipher
BLE advertisement data. Martin et. al. [16] discovered that the BLE            There are two main cryptographic constructions used in the OF
advertisement of HandOff messages in the continuity protocols                  protocol: the Elliptic-curve Diffie-Hellman (ECDH) key exchange
contains a predictable incremental sequence.                                   protocol and the AES block cipher and its associated encryption
   These found issues would result in privacy leaks with severity              modes. The ECDH protocol is a key exchange protocol that allows
ranging from low (e.g., leakage of battery level) to high (e.g., leak-         two participants in a protocol, without a prior shared secret, to
age of phone number in plaintext) and defeats the anti-tracking                derive a common secret, that can be used to derive other keys,
provisions in BLE as the leaked data can be used by an adversary               e.g., for encryption or for message authentication. The AES block
to perform long-term tracking of a device passively.                           cipher is a symmetric encryption algorithm that is widely used for
                                                                               data encryption, and as a building block for other cryptographic
                                                                               functions. We explain briefly each of these constructions. For further
   General BLE Related Security and Privacy Issues. A Bluetooth de-            details, we refer the interested reader to [13] (for ECDH) and [9]
vice can be uniquely identified by its Bluetooth MAC address. There-           for the AES algorithm.
fore, to avoid long-term tracking of a Bluetooth device, vendors                  The ECDH builds on the Diffie-Hellman key exchange proto-
often implement anti-tracking mechanisms, such as randomization                col [10], where the underlying group operations are defined over
of a device’s Bluetooth MAC address periodically.                              an elliptic curve. For our purposes, an elliptic curve (EC) is a
   However, multiple privacy issues have been found in the current             plane curve over a finite field 𝐹𝑞 . It can be defined by the set
implementations of BLE advertising mechanism and GATT profiles                 of points (𝑥, 𝑦) ∈ 𝐹𝑞 × 𝐹𝑞 that satisfies the Weierstrass equation
content of Bluetooth devices, which can be utilized to defeat such             𝐸 : 𝑦 2 + 𝑎 1𝑥𝑦 + 𝑎 3𝑦 = 𝑥 3 + 𝑎 2𝑥 2 + 𝑎 4𝑥 + 𝑎 6 , if certain conditions
anti-tracking mechanisms or to retrieve sensitive information that             hold [13]. Given an EC point 𝑃 and a scalar 𝑘, scalar multiplication
could affect the owner of the device.                                          𝑘𝑃 = 𝑄 can be computed in a few steps using a combination of
   Celosia et. al. analysed the data exposed in the GATT profiles              scalar multiplication and point addition. In contrast, computing the
based on a large dataset of GATT profiles collected in daily envi-             discrete logarithm log𝑃 (𝑄), such as the reverse operation: finding
ronments [4]. It was shown that content of a GATT profile may                  𝑘 ∈ 𝑍 such that 𝑄 = 𝑘𝑃 is hard and considered infeasible when a
contain identifiers or diverse data that act as a fingerprint of the           sufficiently large finite field 𝐹𝑞 and a curve with carefully selected
device, which allows long-term tracking of a Bluetooth device re-              domain parameters were used. This asymmetry in the computa-
gardless of the MAC address randomization. The result has also                 tional complexity encodes the security assumption for elliptic curve
shown that the data exposed within a GATT profile may contain                  cryptography (ECC), where the security level is based on the dif-
sensitive information to be inferred, such as health data, which               ficulty of solving the Elliptic Curve Discrete Logarithm Problem
would violate the privacy of the device owner.                                 (ECDLP).
   Celosia et. al.’s privacy analysis on the current implementations              In ECC, a private key 𝑘 is an integer. The corresponding public
of BLE advertising mechanism has shown multiple common imple-                  key 𝑃 is computed by 𝑃 = 𝑘𝐺, where 𝐺 is the generator point, a
mentation mistakes that could result in privacy threats to the device          special pre-defined EC point that any point in its EC subgroup can
or the device’s owner [5]. (1) Many devices still use a stable Blue-           be generated by scalar multiplication of 𝐺; 𝑝 is the order of the
tooth MAC address, which is vulnerable to long-term tracking. (2)              curve, which defines the finite field 𝐹𝑞 the curve is over.
Devices that implements MAC address randomization may contain                     ECC is often combined with the traditional Diffie-Hellman proto-
unique data in the BLE advertisement packets that allows the device            col for establishing shared keys over public channels. A simple key
to be identified and tracked. (3) The interval of the MAC address              exchange procedure using Elliptic-curve Diffie–Hellman (ECDH)
randomization exceeds the recommended maximum duration of 15                   can represented as follows:
minutes.                                                                             • The generator point 𝐺 and the order 𝑝 are public parameters.
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     • Peer A has a private key 𝑎 and the corresponding public key                   way that it is neither used in a standard manner for encryption nor
       𝐴 = 𝑎𝐺. Peer B has a private key 𝑏 and the corresponding                      authentication and hence provides dubious security for both pur-
       public key 𝐵 = 𝑏𝐺.                                                            poses. Given that underlying hardware did support authenticated
     • Public key exchange: Peer A and B exchange their public                       encryption modes, we are mystified as to why Samsung decided to
       keys over an authenticated public channel.                                    use AES-CBC in such a non-standard way.
     • Shared key computation: Peer A then uses the public key 𝐵
       from peer B and the private key 𝑎 to arrive the secret key                    2.2    Bluetooth Low Energy (BLE)
       𝐴𝑘𝑒𝑦 = 𝑎𝐵 = 𝑎𝑏𝐺. Peer B performs the same computation                         SmartTags uses Bluetooth Low Energy (BLE) [11] for data trans-
       process using private key 𝑏 and peer A’s public key 𝐴, which                  mission. BLE is a wireless communication technology designed for
       would produce the same key 𝐵𝑘𝑒𝑦 = 𝑏𝐴 = 𝑎𝑏𝐺 = 𝐴𝑘𝑒𝑦 .                           short-range data transmission. It has been widely applied to small
    Samsung’s OF implementation of ECDH uses the elliptic curve                      battery-powered devices that do not require continuous streaming
Curve25519 [2], which was designed to achieve high speeds at                         of data, such as fitness trackers and smartwatches.
computation without compromising the security strength. It is                        2.2.1 BLE protocol stack. The protocol stack of BLE can be broken
defined by the Montgomery equation 𝑦 2 = 𝑥 3 + 486662𝑥 2 + 𝑥 over                    down into three blocks: application, host, and controller. The Appli-
the prime field of order 2255 − 19 with a generator point 𝐺 = 9.                     cation is the highest layer in the protocol stack, it is responsible for
    The Advanced Encryption Standard (AES) algorithm [9] is a                        the data handling, application logic, and human-machine interface.
symmetric cipher, which means that the same key is used for the                      The architecture is dependent on the specific use-case and imple-
encryption and decryption process. Hence, the same cryptographic                     mentation. The Host is a software stack that consists of the upper
key must be shared between the sender and the recipient in or-                       layers and profiles in the BLE protocol stack. Each profile defines
der for them to communicate securely. AES offers cryptographic                       ways for certain protocols in the stack to interact with each other
keys with size 128, 192 and 256 bits. The cipher encrypts/decrypts                   or work together. The Controller is a subsystem that consists of
plaintext/ciphertext in blocks of 128 bits data.                                     the lower layers in the protocol stack. It is responsible for gener-
    AES, like all block-ciphers, has multiple standardized mode of                   ating/receiving, modulation and demodulation of RF signals. This
operations, where each mode describes a way to apply the single-                     section will provide details on the two profiles contained in the
block operation of the cipher to securely transform data longer                      Host block, which are the Generic Attribute Profile (GATT) and
than the block size. To encrypt data that is not in blocks of 128 bits               the Generic Access Profile (GAP).
using AES, the padding process must be applied to the last block                        GAP provides guidelines for the advertising and connection
to extend the data to a multiple of the block size. Samsung’s FMM                    functionalities that any BLE implementations must follow. A BLE
and SmartTags implements AES CBC mode cipher with PKCS#7                             device needs to operate in one or more roles to participate in the
padding scheme [18] to encrypt/decrypt data for various OF related                   BLE network, and it may operate in multiple roles simultaneously.
operations. If the last block of a plaintext has a length of 16−𝑛 bytes,             These roles are:
the PKCS#7 standard specifies that 𝑛 bytes need to be appended to
                                                                                          • Advertiser: a device that sends out BLE data that is available
the plaintext, where each padded byte has a value of 𝑛 (in hex).
                                                                                            to any nearby Bluetooth capable devices.
    The CBC encryption mode uses a 128-bit initialisation vector
                                                                                          • Observer: a device that listens to BLE advertisement data
(IV), that is often used to introduce some nondeterminism in the
                                                                                            and may process the data from Advertisers. An observer is
ciphertext. Given a plaintext with 𝑛 blocks (𝑃0, . . . , 𝑃𝑛−1 ), an IV and
                                                                                            not connected to any advertisers.
an encryption key 𝑘, the CBC mode produces the ciphertext blocks
                                                                                          • Central: A central is a device that initiates a connection
𝐶 0, . . . , 𝐶𝑛−1 as follows:
                                                                                            after first receiving advertisement data from an advertising
                𝐶 0 = 𝐸𝑘 (𝑃0 ⊕ 𝐼𝑉 )                                                         peripheral. A central can connect to multiple peripheral
                                                                                            devices.
                 𝐶𝑖 = 𝐸𝑘 (𝑃𝑖 ⊕ 𝐶𝑖−1 ), for 𝑖 ∈ [1, . . . , 𝑛)
                                                                                          • Peripheral: A peripheral is a device that advertises BLE data
where 𝐸𝑘 refers to the AES blockcipher algorithm with key 𝑘 and                             to announce its presence to the centrals and accepts the
⊕ refers to the bitwise exclusive-OR (XOR) operation. The IV is                             incoming connection from a central. Upon connection, the
XORed with the first block of plaintext (𝑃0 ) to introduce some non-                        peripheral device stops broadcasting BLE data and remains
determinism. Then it is encrypted to create the first ciphertext block                      undiscoverable throughout the connection.
(𝐶 0 ). Each subsequent plaintext block (𝑃𝑖 ) is XORed with the pre-                    GATT defines how data is organized and exchanged over an
vious ciphertext block (𝐶𝑖−1 ) then encrypted using the encryption                   established connection between BLE devices. It is build on top of
key.                                                                                 Attribute Profile (ATT) protocol that provides the mechanisms for
    The AES algorithm is also used in the Bluetooth Low Energy                       data exchange in the form of “attributes". An attribute is defined by
(BLE) Specification for key generation, which will be discussed in                   a 4-byte handle, a 128-bit UUID, a set of permissions, and a value.
Section 2.2.4.                                                                       The attribute handle is used as the identifier to access the attribute
    AES-CBC can also be used as a Message Authentication Code                        value. The UUID specifies the type of data the attribute contains.
(MAC) in which case the IV should be fixed, or at least unpredictable                   GATT extends ATT by defining different types of attributes to
and uncontrolled by the adversary, and care must be taken to pre-                    provide a hierarchical structure for organising user data, which in-
vent message extension attacks. The use of AES-CBC in OF is very                     clude services, characteristics, and descriptors, as detailed in Figure
strange as well shall elaborate on later. It is configured in such a                 1.
                                                                                 5
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                              GATT Profile                                  device from being identified by non-trusted parties, while trusted
                                                                            parties can still identify the device using a shared key: the Identity
                                 Service
                                                                            Resolving Key (IRK), which will be elaborated in §2.2.4.

                              Characteristic
                                                                            Algorithm 1 The Hash Function
                               Descriptor                                       function ah(𝐼𝑅𝐾,𝑝𝑟𝑎𝑛𝑑)
                                                                                   𝑟 ′ ← 0𝑥000000 || 𝑝𝑟𝑎𝑛𝑑
                                                                                   ℎ𝑎𝑠ℎ ← 𝑒 (𝐼𝑅𝐾, 𝑟 ′ ) mod 224
                                                                                   return ℎ𝑎𝑠ℎ
                              Characteristic
                                                                                end function

                                                                            2.2.4 BLE pairing and address resolution. Pairing is the process by
                                                                            which two BLE devices exchange necessary information so that an
                                                                            encrypted connection can be established. BLE has several pairing
                                                                            modes, which are determined by the authentication requirements
              Figure 1: Content of the GATT profile
                                                                            and input/output (IO) capabilities of the devices participating in
                                                                            the pairing process. As part of pairing, two keys are exchanged:
   Each service groups conceptually related characteristics together,            • Identity Resolving Key (IRK): to generate/resolve Random
and each characteristic is a container of user data. A characteristic              Private Resolvable Addresses (RPA)
can be followed by descriptors, which provide additional metadata                • Long Term Key (LTK): to encrypt/decrypt the connection
of the characteristic and its value.                                               session
                                                                               The IRK is used to generate and to resolve an RPA. The three
2.2.2 BLE Communication. BLE has two ways of transferring data:
                                                                            most significant bytes of an RPA correspond to a random number
advertising over BLE and data exchange over connections.
                                                                            prand. The three least significant bytes correspond to the hash
   Advertising is the process of a BLE device sending out data pack-
                                                                            value of prand.
ets in one-way. BLE supports several advertisement types. The
                                                                               As defined in the Bluetooth Core Specification [11], the hash
advertisement type SmartTags use is ADV_IND (connectable, undi-
                                                                            function function ah (shown in Algorithm 1) is used to compute
rected advertising). Undirected means that the data is broadcasted
                                                                            the hash value using the IRK and prand as input. It first extends
and is accessible by any nearby Bluetooth-capable device instead of
                                                                            the 3-byte prand to a 16-byte array r’ so that the length matches
being targeted at a specific Bluetooth address. Connectable means
                                                                            the block size of AES. Then, it calls the security function e which
that the advertiser would accept connection requests.
                                                                            encrypts r’ with an AES/ECB cipher using the IRK as the key then
   Communication over connections allows bidirectional data trans-
                                                                            returns the ciphertext. The hash value is obtained by modding the
fer between the peripheral and the central. Data packets are ex-
                                                                            ciphertext with 224 .
changed through characteristics in the GATT server of the periph-
eral device.
                                                                            3     OFFLINE FINDING PROTOCOL FOR
2.2.3 Bluetooth MAC address. A Bluetooth MAC address is a 48-bit                  SMARTPHONES
value that can be used to identify a device. There are four types of        In this section, we discuss our findings in the reverse engineering
MAC addresses:                                                              of offline-finding features of Samsung Find My Mobile (FMM) app.
     • Public Address                                                       The results of this section apply to all versions of FMM app (with
     • Random Static Address                                                the offline finding features) prior to version 7.2.24.12 (July 2022).
     • Random Private Non-Resolvable Address
     • Random Private Resolvable Address (RPA)                              3.1     Methodology
   A Public Address never changes and is registered with IEEE to            Four main investigative methods have been used: Android APK
ensure that each public address is unique worldwide. A Random               Reverse Engineering, passive BLE scanning, active BLE interaction
Static Address does not require registration with IEEE; it remains          and device logs. These methods have been used both in isolation
static during the runtime of a device. Each Bluetooth-capable device        and in conjunction to better inform the other methods and gain
has an Identity Address, which is either a Public Address or Random         a clearer overall understanding of the protocol and its operations.
Static Address.                                                             Initial investigations primarily consisted of passive BLE scanning
   The two types of Random Private Addresses (Non-Resolvable,               and source code review, with later investigations adding device logs
Resolvable) are primarily used for privacy protection. The identity         and active BLE interaction methods.
address of a BLE device can be hidden by using the Random Private
Address (RPA), which prevents long-term tracking of the device.             3.1.1 Android APK Reverse Engineering. The JADX decompiling
Random Private Non-Resolvable Addresses aim to prevent a de-                tool8 was used to decompile the FMM Android application package
vice from being identified by any other devices; Random Private             (apk) into its Java source code. The reverse engineering process
Resolvable Addresses (RPAs), on the other hand, only prevent a              8 https://github.com/skylot/jadx

                                                                        6
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allowed the operation of the FMM application relating to Offline                     process is a single HTTPS request that receives a single HTTPS
Finding to be understood and analysed in details.                                    response.
                                                                                        To begin the registration process, the device firstly generates a
3.1.2 BLE Scanning. The passive BLE scanning involved obser-                         16-byte random secret key. This is generated using Java Random
vation and analysis of BLE packets obtained from offline device’s                    (notably not Java SecureRandom). This random secret key is not
BLE advertisements. Two main scanning methods were used which                        stored on the device. The device then forms a registration object
offer slightly different functionalities: (1) Device’s in-built Blue-                which is to be sent to Samsung using HTTPS. This object contains
tooth Hardware – allows capture of Bluetooth advertising data;                       the following device and account information:
(2) Ubertooth One Bluetooth Sniffing Device 9 – allows capture
of Bluetooth advertisements as well as sniff communications on                           • Secret key: 16-byte random generated using Java Random.
already established (or newly establishing) Bluetooth connections.                       • Device ID: Base64 encoding of an MD5 hash of the device’s
                                                                                           IMEI. The IMEI is constant and unique for a device.
3.1.3 Active BLE Interaction. The Bluetooth GATT profile setup by                        • User ID: A value associated with the Samsung account logged
offline devices can be interacted with using a BLE capable device                          in.
through reading or writing to the characteristics offered. Interacting                   • Device type: The type of device being registered. (either
with these characteristics and observing the reaction of the phone                         Tablet or Mobile).
allowed us to gain more insight into the protocol.                                       • Region: The ISO country code associated with the device.
                                                                                         • Client version: The version of the FMM application running
3.1.4 Device Logs. We analysed the run-time output of the device
                                                                                           on the device.
(main system logs) and the FMM application (application logs)
                                                                                         • SDK version: The Android SDK version the device is running.
using adb logcat. These logs are viewed to better understand
                                                                                         • Model name: The device model.
the workings of the application when it is interacted with, either
through active BLE interaction or interacting with the screen itself.                    This information is then sent to Samsung via a HTTPS request.
                                                                                     If the request is successful, then Samsung responds with a request
3.2     Find My Mobile in Details                                                    result containing the following information:
The OF protocol has multiple modes of operations that depend                             • Policy: This contains policy settings for how the device
on the functions supported by the devices involved as well as the                          should operate when using OF. It contains various intervals
type of device to be located. In this section, we outline the main                         and windows for specific OF operations including advertis-
OF protocol that applies to mobile devices, which consists of four                         ing, scanning, payload shuffling. It also contains a maximum
main operations: Device/Account Registration, Offline (Lost) Device                        report count which indicates how many lost devices a helper
Operation, Online (Helper) Device Operation, and Device/Account                            device can report at one time.
Deregistration.                                                                          • Target URLs: This contains six Samsung server URLs that
    The protocol can be summarised as follows. Initially, devices                          are used for various FMM operations. Most importantly it
must complete the registration process with an active network con-                         includes the URL for reporting locations.
nection. All devices involved with the protocol must be registered                       • PrivateIDConfig: This contains a secret key, an IV and a
to OF. When a registered device goes offline, it starts advertising a                      privacy ID pool size. This is the basis for the advertisements
unique payload that identifies itself. This payload is picked up by                        that an offline lost device generates.
nearby online (registered) devices which parse the payload extract-                     The device then stores the information from this response to
ing the device’s identifier. The online device then accesses available               guide the OF operation. The PrivateIDConfig is the most impor-
location services to find out its own location. It then sends the lost               tant part for the OF protocol and will be discussed further. Receiving
device’s identifier and the location through to Samsung. The owner                   a successful response from Samsung marks the end of the registra-
of the lost device can then access the FMM web service to find out                   tion process.
its location. Further details of each operation are outlined below.
                                                                                     3.2.1 PrivateIDConfig. The PrivateIDConfig contains a secret
   Device/Account Registration. When a user decides to enable FMM,                   key, an IV and a privacy ID pool size. It is unclear how the secret
they are required to login to a Samsung account. Their device                        key response from Samsung relates to the original random 16-byte
communicates with Samsung to verify the account and complete                         secret key that the device generates. The original secret key is
the sign in. This associates the device to the given account under                   not stored by the device leading to the assumption that it is not
the normal FMM operation.                                                            important and most likely just acts as a seed for the secret key that
   If the user then decides to enable Offline Finding, a separate                    Samsung generates. The secret key is used as the base key in the
registration process is started. This registers the device and account               generation of advertising data used when the device is offline.
with the Offline Finding feature by sending a HTTPS request to a                        The IV response from Samsung is a standard IV that is used
specific ‘registerDevice’ URL within Samsung’s servers. This pro-                    for all devices. Throughout the investigation, the same IV was
cess requires an active network connection so that the device can                    repeatedly seen in these responses. This IV being (in base64 en-
communicate with Samsung. The device will not let a user tog-                        coding): +IABCfvBZHJYFUek8vp3Gg==. The implications of this are
gle OF on without an active network connection. The registration                     discussed further in the analysis section.
                                                                                        The privacy ID pool size determines the amount of possible
9 https://greatscottgadgets.com/ubertoothone/                                        advertising values the device will generate. This has also been
                                                                                 7
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 Table 1: Characteristics under the Authentication Service                   and the IV used is the standard IV +IABCfvBZHJYFUek8vp3Gg==.
                                                                             The cipher encrypts a 20-byte array consisting of the device’s secret
     Name                     UUID                                           key and an extra four bytes that are based off a random nonce (𝑖).
     NONCE                    A12BE31C-5B38-4773-9B9D-3D5735233A7C           These four bytes provide all of the non-determinism to the private
     ENONCE                   4EBE81F6-B952-465E-9ECE-5CA39D4E8955           ID generation. The random nonce is simply an integer generated
     SUPPORTED_CIPHER         50F98BFD-158C-4EFA-ADD4-0A70C2F5DF5D           by Java Random that is bounded to the privacy ID pool size (51). i.e.
                                                                             the random nonce is always a value between 1 and 51.
                                                                                The four random bytes are actually only two unique bytes which
observed to be standard for all devices, taking the value 51. This           are appended to the start and the end of the secret key. The first of
means that there are only 51 possible advertisement payloads from            the unique bytes is generated by a bitwise right shift of 𝑖 by 8-bits,
a lost device and the implications of this are also discussed further        followed by a bitwise AND with 255. Since 𝑖 is between 1 and 51,
in the analysis section.                                                     this always results in 0. The second unique byte is generated by a
                                                                             bitwise AND between 𝑖 and 255, which results in 𝑖. Table 2 shows
3.2.2 Offline (Lost) Device Operation. When a OF registered device
                                                                             the structure of the 20-byte array that is fed into the cipher.
no longer has an active network connection, it enters ‘Lost Mode’
and triggers the Offline Finding service to start. The lost device
then creates a GATT server profile and starts advertising on the             Table 2: Byte Array Encrypted During Lost Mode Advertis-
main OF service UUID (FD69). The advertising is the fundamental              ing Data Generation
operation for lost devices as part of the main OF protocol. The
GATT server is not directly used by the main OF protocol, however                     Byte 0   Byte 1    Bytes 2-17    Byte 18    Byte 19
it can be interacted with via BLE and is used as part of secondary                     00        𝑖       secret key      00          𝑖
OF protocols. This opens another attack surface, and so the profile
is described below.                                                             The AES/CBC/PKCS7 encryption is performed, and the first 12
                                                                             bytes of the ciphertext are extracted, to be used as the current
   GATT Server Profile. The lost mode device creates a GATT server
                                                                             Private ID. Note that since only 12 bytes are extracted from the
containing two primary services, the authentication service and
                                                                             ciphertext, the last two bytes of the byte array in Table 2 is actually
the FME serive.
                                                                             not needed to produce the Private ID.
Authentication Service Service UUID EEDD5E73-6AA8-46-73-8219                    Figure 2 describes the full advertisement payload is then gener-
     398A489DA87C is used to implement a challenge-response                  ated using the current Private ID and two other bytes of informa-
     protocol for a connected device to authenticate to the GATT             tion.
     server. It contains three characteristics (see Table 1):
     The SUPPORTED_CIPHER characteristic is readable and con-
     tains information about the cipher to be used, which is
     AES/CBC/PKCS7. The NONCE characteristic is readable and
     returns an IV to be used during encryption. This IV is a ran-
     dom nonce that is generated using Java SecureRandom each
     time a client connects to the server. The ENONCE characteris-
     tic is writeable and expects to receive an encrypted version
     of the string “smartthings”. This string must be encrypted
     using the given IV and with the device’s secret key (from
     the PrivateIDConfig). Writing the correct ciphertext to                 Figure 2: Payload Format for FMM Lost Mode Advertise-
     the encrypted nonce characteristic completes the handshake              ments
     between client and server.
FME Service After completing the handshake, the client is now
     authenticated and can interact with the characteristics in                 The first byte describes the operation mode of the OF protocol
     the FME service. The device’s alarm can be set to ring by               that is being used by a lost device. In the main OF protocol, this
     writing the byte 01 (encrypted using the same cipher) to                byte is always zero. The last byte contains information about the
     the ALARM characteristic (UUID 4a1351bb-d617-4612-a8e3-                 device’s region and functionalities supported. This last byte varies
     8dee6ca13e7b).                                                          depending on the device but stays consistent for all advertisements
                                                                             for a device. If two lost mode devices are advertising in the same
   Lost Mode Advertising. the lost mode advertisements are the               area, then this last byte can be used as a quasi-differentiator between
fundamental part of the OF protocol. The lost device generates               the two, provided they do not have the same settings/support.
an advertisement containing a unique identifying payload (the                   Once the advertising data has been generated, the lost device
private ID) which is picked up by a helper and reported to Samsung.          starts advertising over BLE on the OF service’s UUID FD69. The
The private ID is generated from the device’s PrivateIDConfig as             device will continuously advertise the same data until a timer is
follows:                                                                     triggered that causes it to shuffle the advertising data. This timer is
   The cipher is initialised with an encryption key and an IV. The en-       set to trigger every 60 minutes, after which the device generates
cryption key is the device’s secret key from the PrivateIDConfig,            a new random nonce to be used to generate the advertising data.
                                                                         8
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Since, there are only 51 possible values for the random, and the                     the device clears its lost device database and triggers the Offline
random is the only source of non-determinism, there are also only                    Finding service to stop.
51 possible values of the advertising data (for a PrivateIDConfig).                     From experimentation, we have been able to deduce some prop-
The lost device repeats this process until it is online again. If you                erties of the deregistration process. The deregistration does not
have access to the device’s secret key and IV (which is standard                     fully clear the device/account from Samsung’s storage. If the same
across all devices), then it is trivial to generate the 51 possible                  account is logged back into the same device, a new registration
values. It is expected that the Samsung servers store each device’s                  process is started. However, the secret key Samsung sends the de-
51 possible values and then performs simple pattern matching to                      vice remains identical to the previous key for that device/account
identify a device when required.                                                     combination. The secret key was observed to be refreshed only after
                                                                                     a different Samsung account was logged in and registered to the
3.2.3 Online (Helper) Device Operation. When a device with OF                        device. Reregistering the original account then returns a refreshed
enabled is online, it periodically scans over BLE. This scan is per-                 secret key.
formed with a scan filter that makes sure only advertisements with
the OF service’s UUID (FD69) are returned from the scan. If there                    4     OF PROTOCOL FOR SMARTTAGS
are any lost mode devices nearby, the helper device picks up their                   This section discusses the key findings on the Galaxy SmartTag.
advertisements and parses through the data to extract the lost de-                   The proprietary protocols and data exchanges involved in various
vice’s private ID. To facilitate multiple lost devices nearby, each                  processes, including registration, Offline Finding, and removal of a
helper device maintains a local SQL database in which it adds any                    SmartTag will be presented in detail. Our analysis was performed
lost devices to.                                                                     on SmartTags with firmware versions 1.01.26 and 1.02.06. Samsung
    The helper device then stops scanning and starts the location                    has mentioned to us that they have released a patch to address
reporting process. Firstly, it accesses the SQL database to get the                  some of the issues below in the firmware version 1.02.07. At the
list of lost devices to report. Then the helper uses any available                   time of writing, we have not yet performed a detailed analysis to
location services (GPS, Wi-Fi etc.) to pinpoint its own location and                 confirm whether all the issues we raised have been patched.
record it. The next process differs depending on whether the user
has chosen to encrypt their location or not.                                         4.1    Methodology
     • Unencrypted: The helper device creates a HTTPS request                        A combination of investigation approaches were used to understand
       containing the lost device’s private ID and its unencrypted                   the OF protocol for SmartTags.
       latitude/longitude. The request is then sent to Samsung’s
                                                                                     4.1.1 BLE Passive Scanning. We used wireshark and the in-built
       location reporting server.
                                                                                     Bluetooth hardware of a research laptop to capture the BLE packets
     • Encrypted: The helper device first contacts Samsung (over
                                                                                     sent between a SmartTag and its owner’s device passively, which
       HTTPS) to receive a public key. Then it creates another
                                                                                     allowed us to silently observe patterns in the BLE advertising be-
       HTTPS request containing the lost device’s private ID and its
                                                                                     havior of a SmartTag under different conditions.
       latitude/longitude. The latitude/longitude are encrypted us-
       ing an Elliptic Curve Integrated Encryption Scheme (ECIES)                    4.1.2 Device Loggings. We analysed the runtime behavior of the
       with the public key that was received from Samsung. The                       SmartThings app via device logging using the Android Debug
       request is then sent to Samsung’s location reporting server. It               Bridge (adb) over a USB connection. The command line tool adb
       is unclear whether the public key from Samsung is standard                    logcat was used for logging system messages produced during the
       for all devices or not.                                                       registration and firmware update process of a SmartTag. Some mes-
                                                                                     sages contained verbose information, such as data and description,
   In both cases, the helper device receives a response indicating                   which allowed some of the inner workings and protocols involved
the success of the operation and the lost device location reporting                  in these processes to be inferred. Analysis of the Bluetooth HCI
process finished. The helper device returns to scanning but with                     snoop log was an essential approach for us to understand the OF
a timeout ( 20 mins) for reporting any lost devices it has already                   protocol. With the Bluetooth HCI snoop log option enabled, the
reported.                                                                            Android framework will capture the Bluetooth communication be-
                                                                                     tween the central and peripherals and store them as a part of the
3.2.4 Device/Account Deregistration. The deregistration process
                                                                                     bug report. This allowed the data exchanged between an owner’s
is unclear as most of the operation happens on the Samsung side,
                                                                                     phone and a SmartTag over BLE connections under different events
however, we can still infer some details based off experimentation
                                                                                     and operations to be captured and examined.
and what is evident on the device side. The deregistration process is
triggered when OF is toggled off or the FMM application is disabled.                 4.1.3 Android APK Reverse Engineering. We used APK reverse engi-
This must be done with an active network connection, otherwise                       neering to understand the close-sourced details of the OF protocols
the device will not accept the toggle off.                                           for “SmartThing Find". We extracted the APK file of SmartThings
    To unregister, the device sends a HTTPS request to the “unReg-                   using adb. Then we used the JADX decompiler to convert the APK
isterDevice” URL of Samsung’s servers. This request contains only                    file into Java source code, and performed static analysis on the
the hashed device ID and the request response does not contain                       source code. We identified and understood several functions and
any information except for an indication of the operations success.                  classes that are important to the BLE implementation of SmartTags
If the response indicates that the operation was successful, then                    through this method.
                                                                                 9
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4.1.4 Web Traffic Analysis. We used the BurpSuite tool to set up                 Interactions with the Location Server uses a different authen-
the research laptop as a proxy server to monitor data exchanged               tication scheme. It requires a valid JWE (JSON Web Encryption)
between online devices in the OF network and external parties over            token to be present in the request header to authenticate the re-
the internet.                                                                 quester to the server. Each new authentication token is obtained
                                                                              by interacting with URLs of the Location Server through the
4.1.5 Firmware Reverse Engineering. The dumped firmware of Smart-             following procedure:
Tag [3] was reverse engineered using Ghidra. Analysis of the firmware
dump shows that two of the dumped firmware images contain con-                  Nonce request. The client makes a GET request to the /nonce
tents of the 512KB flash memory of a SmartTag. Analysis of the                URL to obtain a 16-byte nonce randomly generated by the server.
firmware has allowed us to recover cryptographic algorithms used              We note here that the nonce is generated by the server so the client
in the registration process of SmartTags, which involves ECDH key             has no control over its value.
establishment as indicated by findings from the previous investiga-
                                                                                 Access token request. Then, the client makes a POST request to
tion approaches, and SHA256 hashing.
                                                                              the /accesstoken URL of the Location Server to obtain a new
                                                                              JWE access token.
4.2     Overview                                                                 The request headers contains a certificate, signature, and a
The interactions between different parties inside the OF network              nonce field. The value for those fields are formed by two certificates
can be categorized into online interactions (between online devices           and a private key are loaded from a keystore file on the client’s
and remote servers) and offline interactions (between online de-              device’s file system using the nonce received during the last step.
vices and SmartTags). Topics covered in later sections involve a              certificate The value of this field is a certificate chain, consisting of
combination of online and offline interactions.                                      two X.509 certificates. The first certificate is an intermediate
4.2.1 Online Interaction. Three servers are responsible for the ma-                  CA certificate, which is used to sign the 2048-bit RSA public
jority of online interactions that will be discussed in the later sec-               key (for signature verification) in the second certificate.
tions.                                                                        signature The value of this field is produced by encrypting the
                                                                                     SHA-256 hash of the nonce with the private key that cor-
      • OAuth Server: corresponds to samsungosp.com, which pro-                      responds to the RSA public key in the second certificate
        vides One SSO Provider (OSP) service for user authentication                 above.
        and authorization.                                                    nonce the nonce used to generate the signature
      • SmartThings Server: corresponds to client.smartthings.com
        and api.smartthings.com, which provides web services for              The server’s response for a valid request would contain a new
        various user activities made through the SmartThings appli-           authentication token that stays valid for 32 hours.
        cation, such as device management operations, e.g., adding/re-           Location report. The received access token is present in each
        moving a SmartTag.                                                    location report request to the server. Apart from information about
      • Location Server: corresponds to                                       the SmartTag and the access token, each location report contains
        chaser-***.samsungiotcloud.com. The chaser subdomain is               an 𝑖𝑑 field, generated as follows:
        region dependent.

4.2.2 Interacting with the SmartThings Server. The OAuth 2.0 autho-              𝑖𝑑 = 𝑎𝑛𝑑𝑟𝑜𝑖𝑑𝐼𝑑 [0 : 4] ∥𝑆𝐻𝐴256(𝑎𝑛𝑑𝑟𝑜𝑖𝑑𝐼𝑑 ∥“𝑓 𝑖𝑛𝑑𝑀𝑦𝑀𝑜𝑏𝑖𝑙𝑒”)
rization framework is implemented to authorize access to protected
resources. When a user signs into the SmartThings application:                   where 𝑎𝑛𝑑𝑟𝑜𝑖𝑑𝐼𝑑 denotes the Android Device ID of the helper
                                                                              device.10 Since Android 8.0, the Android Device ID is unique to
      • the app will make a POST request to the /auth/oauth2/r-               each combination of the signing key of the app (SmartThings in
        equestAuthentication URL of the OAuth Server to ob-                   this case), user and the device, whereas prior to Android 8.0, it is a
        tain a signin token userauth_token.                                   static identifier unique to each device (but may change when the
      • Then, the app will make a POST request to the /auth/oaut-             phone is factory-reset).
        h2/authWithTncMandatory URL of the OAuth Server to
        obtain a Bearer token access_token, which authenticates               4.2.4 Offline Interaction. Offline interactions use BLE, which has
        the user to the SmartThings Server.                                   two ways for data transmission, the first is through BLE advertise-
                                                                              ment, and the second is through data exchange during an estab-
   Any interactions with the SmartThings Server require a valid
                                                                              lished connection using the GATT server.
Bearer Token ( access_token) to be present to grant the requester
access to its web services.                                                      BLE Advertisement. A SmartTag broadcasts BLE data that any
                                                                              nearby online device can pick up. A non-registered tag broadcasts
4.2.3 Interaction with the Location Server. Online devices in the
                                                                              on UUID FD59, which allows an online device to discover its pres-
OF network communicate with the Location Server via HTTPS.
                                                                              ence before the registration procedure. A registered tag broadcasts
The owner’s device of a newly registered OF device would make a
                                                                              a 20-byte payload that follows a fixed structure on UUID FD5A,
location report to create a new OF device profile on the Location
                                                                              which allows the tag to participate in the OF network.
Server; a helper device would report found lost devices to the loca-
tion server to allow the owner receive location updates of the lost           10 https://developer.android.com/reference/android/provider/Settings.Secure.html#
device.                                                                       ANDROID_ID
                                                                         10
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                                                                          GATT Profile

                              Authentication Service                                                       DFU Service
                      EEDD5E73-6AA8-4673-8219-398A489DA87C                                                    FE59


                           NONCE (indicate, read, write)
                      A12BE31C-5B38-4773-9B9D-3D5735233A7C




                             ENONCE (indicate, write)                                           BUTTONLESS_DFU (indicate, write)
                      4EBE81F6-B952-465E-9ECE-5CA39D4E8955                                    8EC90003-F315-4F60-9FB8-838830DAEA50




                         SUPPORTED_CIPHER (read, write)
                     50F98BFD-158C-4EFA-ADD4-0A70C2F5DF5D




                                   Onboarding Service                                                    Command Service
                                         FD59                                                                FD5A


                                                                                                         OWNER_ALARM
                                IDENTIFIER (read)
                                                                                                       (indicate, read, write)
                      08A11E38-1C6D-4929-9C32-4F32A64985CE
                                                                                              DEE30001-182D-5496-B1AD-14F216324184


                                                                                                            FIRMWARE
                               HASHED_SN (read)
                                                                                                (indicate, read, write no response)
                      6AC16DB1-F442-4BF4-B804-04C32356465D
                                                                                             DEE3000C-182D-5496-B1AD-14F216324184



                                            ......                                                              ......




                                                     Figure 3: The GATT Server Profile for SmartTags


   GATT Interaction. A SmartTag has an active GATT server for                         Command Service Service UUID FD5A is primarily used for per-
data exchange over connections. Figure 3 provides an overview of                          forming more complicated interactions between the owner
its architecture. The service has four primary services which can                         device and a tag, such as executing a supported command
be summarized as follows:                                                                 (e.g., alarm, changing ringtone) on the tag through data ex-
                                                                                          change on the corresponding characteristic in the Command
Authentication Service The Authentication Service for Smart-                              Service.
     Tags has the same UUID and characteristics as for FMM
     phones.
DFU Service Service UUID FE59 is a part of the nRF52833 Button-                       4.3    SmartTag Registration
     less Secure DFU service for over-the-air firmware updates.                       The registration process of a SmartTag involves offline interactions
Onboarding Service Service UUID FD59 is used for device on-                           with the tag (Owner-Tag), and online interactions between the
     boarding/registration activities. During the registration pro-                   owner’s device and URLs under the smartthings.com domain, and
     cess of a SmartTag, the owner device and the tag would                           the /geolocation URL of a chaser subdomain (§4.2.1) (Owner-
     exchange configuration and cryptographic data over various                       Server). The registration process is managed by the SmartThings
     characteristics under this service.                                              application, where a user needs a Samsung account to log in. A
                                                                                 11
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Table 3: Format of a non-registered SmartTag’s advertise-                                   Table 4: Characteristics for exchanging public parameters
ment
                                                                                            Name                 UUID                                   Value
 Byte(s)       Description                         Value                                    CLOUD_PUBLIC_KEY     b5754629-6821-44c6-a118-492feecf6bb2   32-byte, varies
                                                                                            RANDOM_VALUE         6ac16db1-f442-4bf4-b804-04c32356465d   32-byte, varies
 0                                                 01
 1-4           manufacture ID (mnId)               30414644 (0AFD)
 5-7           setup ID (setupId)                  343330 (430)
 8-10                                              010501                                        random number x is a 32-byte value randomly generated by
 11-13         last two bytes of the MAC address   varies, e.g., 33444431 for 3D:D1              the phone for each registration session. Those two parame-
                                                                                                 ters are the public parameters for the shared secret establish-
                                                                                                 ment process.
                                                                                           response (steps 3-4) The server returns an HTTPS response con-
                                                                                              taining the shared secret 𝐵𝑠𝑒𝑐𝑟𝑒𝑡 and the public key 𝐵𝑝𝑢𝑏 to the
                                                                                              phone: after receiving the request, the server will find the public
                                                                                              key of the tag 𝐴𝑝𝑢𝑏 associated with the hashed_sn. Then, the
                                                                                              server will generate an ephemeral private-public key pair 𝑏 and
                                                                                              𝐵𝑝𝑢𝑏 = 𝑏𝐺, and computes the ECDH shared key. Finally, the
                                                                                              shared key is concatenated with the random number x to form
                                                                                              the input for the SHA-256 hash function to produce the shared
                                                                                              secret: 𝐵𝑠𝑒𝑐𝑟𝑒𝑡 = 𝑆𝐻𝐴256(𝐵𝑘𝑒𝑦 |𝑥).
                                                                                             Steps 5-6 After receiving the response, the phone sends the
                                                                                           ephemeral public key 𝐵𝑝𝑢𝑏 and the random value 𝑥 to the tag via
                                                                                           Write Requests to the corresponding GATT characteristics (see
                  Figure 4: Shared secret establishment                                    Appendix 4), allowing the tag to compute the shared secret in the
                                                                                           same manner.

user can use the “add a device" option in Smartthings to start the                            Deriving AES keys from the shared secret. The first 16 bytes of the
registration process.                                                                      shared secret are taken as the masterSecret. It is used to derive
   The user’s phone will perform a BLE scan to detect nearby non-                          four sub-keys for securing different OF-related cryptographic oper-
registered SmartTags. A non-registered SmartTag broadcasts static                          ations in subsequent communications between the phone and the
BLE data unique to each tag on UUID FD59. Table 3 details the                              tag. Note that Samsung OF protocol does not use any of the default
advertisement structure of an non-registered tag. The registration                         BLE pairing and authentication mechanisms, so this encryption
flow can be devided into six stages, which will be explained next.                         key is unrelated to BLE Long Term Key (LTK) that is normally
                                                                                           exchanged as part of BLE pairing protocols [11].
4.3.1 Shared Secret Establishment. During the registration process,                             • authKey: This key is used by the owner to establish an
a shared secret is established between the user and the tag to secure                             authenticated BLE session with a SmartTag. It is computed
subsequent communications. Computation of the shared secret in-                                   by taking the first 16 bytes of the following SHA256 digest:
volves ECDH on curve25519 and SHA-256 hashing. The interactions
                                                                                                              Bytes 0-15     Bytes 16-19     Bytes 20-N
between each party (Owner, Server, Tag) are summarized in Figure                                   𝑆𝐻𝐴256(                                                )
                                                                                                             𝑚𝑎𝑠𝑡𝑒𝑟𝑆𝑒𝑐𝑟𝑒𝑡     00000001      “smartthings"
4.
request (steps 1-2) The phone makes a POST request to the /ide-                                • gattKey: This key is used for encrypting the data exchanged
     ntity/easysetup/blob URL of the clientsmartthings.com do-                                   in the GATT interactions between the phone and the tag.
     main.                                                                                       It is computed by taking the first 16 bytes of the following
                                                                                                 SHA256 digest:
           {
                                                                                                               Bytes 0-15     Bytes 16-19    Bytes 20-N
                  "keyid": {"type":"hashed_sn","value": hashed_sn},                                 𝑆𝐻𝐴256(                                             )
                                                                                                              𝑚𝑎𝑠𝑡𝑒𝑟𝑆𝑒𝑐𝑟𝑒𝑡     00000001       𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔
                  "mnId":"0AFD",
                  "rand": x,                                                                     The 𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔 is a 16-byte value received from the Smart-
                  "setupId":"430"                                                                Tag during each BLE authentication process, which will be
           }                                                                                     discusses §4.3.1.
                                                                                               • pidKey: This key is used for generating unique identifiers
    The listing above shows the body of the shared secret request,
                                                                                                 (caleld Privacy IDs) for a SmartTag to broadcast when it is
    which consists of the following information collected from the
                                                                                                 in a lost mode (see §4.5). It is computed by taking the first
    tag’s GATT characteristics and BLE advertisements:
                                                                                                 16 bytes from the following SHA256 digest:
    general information The values of mnId and setupId were
      obtained from the BLE advertisement data of the tag.                                                     Bytes 0-15     Bytes 16-19    Bytes 20-N
                                                                                                    𝑆𝐻𝐴256(                                             )
    information unique for each tag The hashed_sn is the base64                                               𝑚𝑎𝑠𝑡𝑒𝑟𝑆𝑒𝑐𝑟𝑒𝑡     00000001       “privacy"
      encoding of tge first 6 bytes of the hashed serial number                                • signKey: This key is used for signing and validating the
      read from the HASHED_SERIAL_NUMBER characteristic. The                                     integrity of the BLE data broadcasted by a SmartTag, and is
                                                                                      12
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       generated from the first 16 bytes of the following SHA256                         Pressing the tag button sets the value of the CONFIRM_STATUS
       digest:                                                                        characteristic to 0x01 (encrypted) from the default value 0x00. The
                                                                                      owner’s device would only continue the registration flow after
                      Bytes 0-15       Bytes 16-19      Bytes 20-N
          𝑆𝐻𝐴256(                                                  )                  validating the value of this characteristic.
                     𝑚𝑎𝑠𝑡𝑒𝑟𝑆𝑒𝑐𝑟𝑒𝑡       00000001         “signing"

   The usage of each key will be discussed in related sections.                        Name              UUID                                   Value   Encrypted
                                                                                       CONFIRM_STATUS    f299f805-17b3-43c1-ac12-fbcc59ee2f0d   0x01    Yes
   BLE Authentication. After computing the masterSecret, the
owner device will initiate a two-way authentication with the tag
to establish an authenticated connected session with the tag using                    4.3.4 Ownership Status Check. This stage checks the ownership
the 𝑎𝑢𝑡ℎ𝐾𝑒𝑦 derived from the masterSecret. The Authentication                         status of the tag to ensure that it is not currently registered to
Service (see §4.2.4) is responsible for data exchange during the au-                  another user.
thentication procedure. This service contains three characteristics,                  request The owner’s device makes a GET request to
which are the same as the characteristics used in the authentication                       the /chaser/trackers/lostmessage URL of
service for FMM (see Table 1).                                                             the client.smartthings.com domain with the serialNumber,
phone → tag: The owner’s phone sends a randomly generated                                  modelName, mnId, and setupId GET parameters provided, to
      16-byte 𝑛𝑜𝑛𝑐𝑒𝑜𝑤𝑛𝑒𝑟 to the NONCE characteristic of the tag via                        check the ownership status of the tag.
      Write Request.                                                                  response The Status code of the response is generally either 200
tag → phone: The tag responds with a randomly generated 16-                                or 404:
      byte 𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔 via Indication on NONCE characteristic.                                • 404 means the profile does not exist. This should be the re-
phone → tag: The phone encrypts the string “smartthings“ using                               sponse for a non-registered SmartTag, as the tag’s parameters
      𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔 as the IV, and then writes it to the ENONCE charac-                           should not correspond to any existing profile on the location
      teristic of the tag via Write Request.                                                 server.
tag → phone: The tag responds with an encryption of the same                               • 200 means a profile that matches the parameters exists. A
      string “smartthings” but with 𝑛𝑜𝑛𝑐𝑒𝑜𝑤𝑛𝑒𝑟 as the IV, via Indi-                          200 response body should contain an own : Boolean field.
      cation on ENONCE characteristic.                                                       true means the tag is currently registered to the requester.
The encryption in the third and the fourth steps above use the                               false means the tag is registered to another user.
AES/CBC/PKCS7 cipher:                                                                     Thus, the registration process would only proceed if the re-
                                                                                           sponse status code is 404, or 200 and own==true.
                    𝐸𝑎𝑢𝑡ℎ𝐾𝑒𝑦 (𝑛𝑜𝑛𝑐𝑒 , ”𝑠𝑚𝑎𝑟𝑡𝑡ℎ𝑖𝑛𝑔𝑠”)
                              |{z} |       {z    }                                    4.3.5 Finalizing Tag Registration. This stage creates an online pro-
                                  IV        Plaintext                                 file of the tag that associates with the owner’s SmartThings account.
The authentication succeeds if the correct encrypted value is re-                     request The owner’s device makes a POST request to the /miniat-
ceived by both party.                                                                      ure/mobile URL of the client.smartthings.com domain.
                                                                                                  {
4.3.2 Securing GATT interactions. Completion of the BLE authen-                                       "tagData":{
tication allows the 𝑔𝑎𝑡𝑡𝐾𝑒𝑦 to be derived using the masterSecret                                          "firmware":{
and 𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔 , as described in §4.3.1.                                                                            "specVersion":"0.5.3",
   The 𝑔𝑎𝑡𝑡𝐾𝑒𝑦 is used for encrypting sensitive data exchanged                                                    "version":"01.01.26"
between an owner device and a tag within an established authenti-                                             },
cated GATT connection. Characteristics responsible for exchang-                                               "mnId":"0AFD",
ing more sensitive information, e.g., characteristics with the “en-                                           "modelName":"EI-T5300",
crypted" property that will be discussed in later registration stages,                                        "serialNumber": sn,
require the data to be encrypted by using the AES/CBC/PKCS7                                                   "setupId":"430"
cipher before being exchanged. The cipher uses the 𝑔𝑎𝑡𝑡𝐾𝑒𝑦 as the                                         },
encryption key, and the 𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔 as the IV, to encrypt/decrypt raw                                    "cipher": "AES_128-CBC-PKCS7Padding",
data (𝑟𝑎𝑤) exchanged over these characteristics:                                                      "configurationVersion": "2.0",
                                                                                                      "identifier": sn,
           𝑒𝑛𝑐𝑟𝑦𝑝𝑡𝑒𝑑𝐷𝑎𝑡𝑎 = 𝐸𝑔𝑎𝑡𝑡𝐾𝑒𝑦 (𝑛𝑜𝑛𝑐𝑒𝑡𝑎𝑔 , 𝑟𝑎𝑤 )                                                 "deviceName": ...,
                                     | {z } |{z}
                                                         𝑃𝑙𝑎𝑖𝑛𝑡𝑒𝑥𝑡
                                                                                                      "encryptionKey": shared_secret,
                                                IV
                                                                                                      "locationId": ...,
   The structure of the raw data will be elaborated in §4.4.                                          "mnmn": "Samsung Electronics",
4.3.3 Ensuring Physical Ownership of the Tag. When registering                                        "roomId": ...,
a tag through the normal flow, the SmartThings app will ask the                                       "vid": "IM-SmartTag-BLE"
user to press the tag button to ensure physical ownership of the tag.                             }
This stage only involves BLE communications between the owner’s                          The listing above shows the body of the finalization request,
device and the tag.                                                                      which consists of the following information:
                                                                                 13
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                                  Table 5: Characteristics read for making the finalization request

      Name                                               UUID                                       Value                          Encrypted
      SPEC_VERSION/specVersion                           dee3000e-182d-5496-b1ad-14f216324184       “0.5.3"                        No
      FIRMWARE_VERSION/version                           30c48d2a-6ccb-4240-9f97-7f97a3f1c030       “01.01.26"                     No
      MODEL_NAME/modelName                               d19ddd83bbe14144bb18f3ceb57c480a           “EI-T5300"                     No
      SUPPORTED_CIPHER/cipher                            5b5f7a4c-257e-4841-92d5-0042658122b6       “AES_128-CBC-PKCS7Padding"     No
      CONFIGURATION_VERSION/configurationVersion         12761292-241c-490c-8424-6f7cc8a8a027       “2.0"                          Yes
      MNMN/mnmn                                          04052818-d201-43eb-9d81-e936dc86ee06       “Samsung Electronics"          Yes
      VID/vid                                            77b08bec-5890-49d1-b021-811741b417e6       “IM-SmartTag-BLE"              Yes


   general information The values of mnId and setupId were                     The tag will then drop the GATT connection with the owner device
     obtained from BLE advertisement data as shown in Table 3.                 to operate in the registered mode and broadcast OF data on RPAs.
     The values colored in blue were read from the corresponding
     GATT characteristics under the onboarding service (UUID                   4.3.6 Setting up OF Device Profile on the Location Server. After
     FD59) (see Appendix 5 for details).                                       completing the above stages, a device profile of the tag is added to
   requester specified The deviceName value is “SmartTag" by                   the owner’s SmartThings account. The owner’s device with FMM
     default. It can be any custom value specified by the owner’s              enabled would then scan BLE to discover its registered tag through
     device and determines the name of the registered device                   the privacy ID in its BLE data.
     displayed in the SmartThings application. The locationId                     After recognizing the registered tag, the owner device would
     and roomId values are keys for users to access their registered           create a POST request to the /geolocations/𝑑𝑒𝑣𝑖𝑐𝑒𝐼𝑑 URL of the
     devices stored in a specific room of a location. Each new                 Location Server to create an OF device profile of the tag on the
     account has a default location and two default rooms, each                server. The authentication mechanisms involved in the server com-
     associated with a unique and static id. Devices registered                munication process was discussed in §4.2.1 .
     to an account is accessed in a locationId -> roomId ->                       This profile bonds the ownership status of the tag with the
     devices way.                                                              owner’s Samsung account, which prevents the tag from being reg-
   unique for each tag The values of serialNumber and                          istered by others, as discussed in §4.3.4.
     identifier equate the identity MAC address of the tag.
     The encryptionKey field contains the shared secret received               4.4    Owner-Tag GATT Interaction
     from the earlier stage (§4.3.1).                                          When an owner device is in-range with its registered SmartTag,
response The server’s response to this request contains configu-               the SmartThings application will automatically initiate the BLE
   ration data associated with the tag shown in Listing 1.                     authentication with the tag using the procedure described in §4.3.1.
                                                                               After successfully establishing an authenticated connection, the
             Listing 1: The finalization response Body                         application will display the status of a SmartTag as connected. An
         {                                                                     owner can then perform various supported actions with a connected
              "deviceId":...,                                                  tag through SmartThings, such as setting off the alarm on the tag.
              "metadata":                                                         Each action is triggered by an exchange of data that encodes
              {                                                                commands related to the action. Concretely, these exchanges are
                  "regionCode":...,                                            done through a GATT characteristic under the Command Service
                  "privacyIdPoolSize":...,                                     (UUID FD5A) of the SmartTag. The data is encrypted using the
                  "privacyIdSeed":...,                                         𝑔𝑎𝑡𝑡𝐾𝑒𝑦 derived during the authentication procedure (see §4.3.1).
                  "privacyIdInitialVector":...,                                Recall that 𝑔𝑎𝑡𝑡𝐾𝑒𝑦 is dependent on the nonce that the tag provided
                  ...                                                          during authentication, so the 𝑔𝑎𝑡𝑡𝐾𝑒𝑦, under normal operations, is
              }                                                                unique to each connection.
         }
                                                                               4.4.1 Command Structure. Commands are data being exchanged
    The deviceId value is used to access the profile of the tag for            between an owner device and the tag for triggering a specific action
    various operations, e.g., removing the tag, pulling the location           on the receiver. Commands can be sent through characteristic Write
    history of a lost tag.                                                     Requests (owner to tag) or characteristic value indication (tag to
                                                                               owner). The structure of a command is as follows:
   The four values contained in the metadata are sent to the tag via
Write Requests to the corresponding GATT characteristics for the
                                                                                                     Bytes 0-3   Byte 4    Bytes 5-N
tag to generate BLE data for OF after completing the registration                          𝐷𝑎𝑡𝑎 =
                                                                                                     Counter     Opcode   Argument(s)
process (see Table 6 for details). Finally, the phone will perform time
synchronization with the tag through the TIME_SYNC characteristic,                Bytes 0-3 store a counter counter, encoded in little-endian for-
then write a value to the SETUP_COMPLETE characteristic to indicate            mat. The value of the counter corresponds to the total number
the completion of the registration process (see Table 8 and Table 7).          of GATT commands the device has successfully sent during the
                                                                          14
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                                               Table 6: Characteristics written to set up a tag for OF

                       Name                 UUID                                          Value                                  Encrypted
                       REGION               bebfaa51-dcb8-44de-a4b8-fc8c9c7ef46d          a valid region code, e.g. 12 for AU    Yes
                       Privacy ID Seed      d19ddd83-bbe1-4144-bb18-f3ceb57c480a          12-byte, varies                        Yes
                       Privacy Pool Size    7534c394-1f40-4d12-afd7-dc2a75bd6a44          1000                                   Yes
                       privacy ID IV        abd6e6ba-3843-4786-b9b2-b69548eed881          16-byte, varies                        Yes


                                                      Table 7: The SETUP_COMPLETE characteristic

                                   Name                     UUID                                       value        Encrypted
                                   SETUP_COMPLETE           bcc8cce6-8af6-48dc-a0ae-547f7c095229       “FINISH"     Yes


                                                         Table 8: The TIME_SYNC characteristic

                        Name             UUID                                         Value                                     Encrypted
                        TIME_SYNC        dee30005-182d-5496-b1ad-14f216324184         Will be set to the current UTC Time       Yes


current authenticated session. Byte 4 is the command opcode indi-                        A tag’s button has three states, which are pushed, held, and
cating the type of command the data contains, as each characteristic                  pushed_2x. The Remote Ring is triggered by double-pressing the
in the Command Service may have multiple supported commands.                          tag button. After the first press, the Button Characteristic will send
    Commands that are exchanged between the owner and the tag                         an indication with the value 0x01, which corresponds to pushed. Af-
are encrypted with the 𝑔𝑎𝑡𝑡𝐾𝑒𝑦 using AES/CBC/PKCS7 cipher.                            ter the second press, the characteristic will send another indication
When an encrypted command is received, the receiver decrypts                          with the value 0x03, which corresponds to pushed_2x.
it to obtain the plaintext command, and validates the command                            When the owner device receives 2 Button Characteristic indi-
before executing it. However, our reverse engineering suggests that                   cations, where the second indication has a value of 0x03 and a
there is a slight difference in how the owner and the tag validate                    greater counter value than the first indication, the remote ring will
the commands they receive. The tag would proceed to execute the                       be triggered.
command if the opcode and the argument(s) are in the expected
form, but it ignores the counter, wherease the owner device addi-                        Firmware Update. The vendor has implemented a custom chan-
tionally performs a simple validation of the counter. The owner                       nel for performing firmware updates on SmartTags. Over-the-air
device uses a global variable (𝑚𝑎𝑥) to store the largest counter of                   firmware updates can be performed by writing encrypted com-
the commands received so far in the current authenticated ses-                        mands to the FIRMWARE_CHAR (UUID DEE3000C-182D-5496-B1AD-
sion. After decrypting a command with counter 𝑛 received from                         14F216324184). After establishing an authenticated session. The
the tag, the owner would compare the value of 𝑚𝑎𝑥 with 𝑛. If 𝑛                        SmartThings application will automatically read the firmware ver-
is greater than the value of 𝑚𝑎𝑥, then owner updates 𝑚𝑎𝑥 with 𝑛                       sion of a tag from characteristic UUID DEE3000B-182D-5496-B1AD-
and proceeds to execute the command. Otherwise, the command is                        14F216324184. If the firmware version is below the latest version,
discarded.                                                                            the application will ask the user to start a firmware update. Once
    We describe some interesting commands that we have identified.                    the firmware update is triggered, the SmartThings app would down-
                                                                                      load the latest firmware through an API call, which would gener-
   Playing Sound on SmartTags. The GATT characteristic OWNER_-                        ate a temporary link (that would expire after a couple of hours)
ALARM_CHAR (UUID DEE30001-182D-5496-B1AD-14F216324184) is                             to download the firmware (from the domain smart-tag-firmware.
used to configure the alarm on a tag. A phone can make a SmartTag                     samsungiotcloud.com). The downloaded firmware will be cached
ring by sending a command packet, with the command opcode                             locally.
0x01, through this characteristic. The opcode for turning off the                        To initiate a firmware update on the tag, the phone must first
alarm is 0x00.                                                                        subscribe to the FIRMWARE_CHAR characteristic’s indication, then
                                                                                      execute the transferFirmwareInformation command by writing
   Remote Ring. The Remote Ring feature allows a tag to make                          opcode 0x00 and a list of arguments to the characteristic, as shown
its owner device ring by pressing the tag button. This feature                        in Table 9. The value of the transferWindow argument is 0x0A (10)
is not enabled by default and needs to be explicitly enabled by                       in the BLE packets we observed, which means that the tag will send
the owner through the SmartThings app. The owner device can                           a handle value indication after receiving every ten firmware data
receive this command through subscribing to the indication of                         packets and wait for the phone to confirm.
the remoteRing GATT characteristic (UUID DEE30003-182D-5496-                             By analyzing the device logs produced during the update pro-
B1AD-14F216324184) of the tag.                                                        cess, we could observe all the firmware update commands and
                                                                                 15
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Table 9: Format of the transferFirmwareInformation com-
mand

          Opcode       Argument                         Type
                       totalFirmwareSize                uint32
                       totalFirmwareCRC16               uint16
            0x00       newFirmwareVersionLength         uint8
                       newFirmwareVersion               string
                       transferWindow                   uint8


arguments being executed. Table 10 shows the arguments for the
transferFirmwareInformation command, which indicates that
the firmware has a total size of 179620 (0x2bda4), total CRC of 37858
                                                                                    Figure 5: The lost and found process of a SmartTag
(0x93e2), firmware version 1.02.06 (0x312e30322e3036), and transfer
window size of 10 (0x0a).
                                                                                 aging counter         privacy ID                 reserved     signature
Table 10: Captured transferFirmwareInformation command                          0      1-3                 4-11              12     13-15         16-19

         Byte     0       1-4      5-6    7        8-14        15              15 6b fa 00 c8 40 62 b2 8f 00 e2 60 c3 00 00 00 ad 01 8b 47
         Value   00    a4bd0200   e293   07   312e30322e3036   0a                         Byte 0: 0x15
                                                                                  Bit   0-3       4        5-7
                                                                                 Data version adv type tag state
   Then the phone will start to execute the transferFirmwareData                 Value 0x01     0x00      0x05
                                                                                                                        Byte 12: 0xC3
command by writing opcode 0x01, followed by a list of arguments                                      Bit     0-3           4            5        6-7
including segmented firmware data to the characteristic until all                                   Data region ID encryption flag UWB flag battery level
                                                                                                    Value   0x0c         0x00         0x00      0x03
the firmware data is transferred. Table 11 shows the format of the
transferFirmwareData command.
                                                                              Figure 6: The OF Advertisement Structure for SmartTags
 Table 11: Format of the transferFirmwareData command
                                                                             4.5.1 Helper-Tag Interaction. A registered tag broadcasts OF adver-
      Opcode       Argument                             Type                 tisements on UUID FD5A continuously. Any active Galaxy device
                   offset                               uint32               with “FindMyMobile" (FMM) enabled is a helper device that partici-
                   segmentedFirmwareDataLength          uint16               pates in Samsung’s OF network. A helper device regularly scans for
        0x01                                                                 BLE advertisement data from nearby SmartTags. It filters BLE ad-
                   segmentedFirmwareData                byteArray
                   argumentsCRC16                       uint8                vertisements based on the advertising UUID for SmartTags (FD5A).
                                                                             A helper device does not attempt to make any GATT connection to
                                                                             the lost tag, so all relevant information about the lost tag must be
                                                                             encoded in the advertisement data, which is detailed next.
4.5     The offline-finding protocol for SmartTags                              Advertisement Structure. Figure 6 shows the advertisement struc-
There are three types of devices participating in the location track-        ture of the OF data broadcasted by a SmartTag. Byte 0 stores the
ing process of a lost SmartTag: the Owner Device, the Lost Device            tag version, advertisement type, and tag state. Bytes 1-3 are the
(tag), and the Helper Device. Figure 5 provides a high-level overview        aging counter. Bytes 4-11 correspond to the first 8 bytes of a privacy
of the lost-and-found process, which involves three types of inter-          ID selected from the privacy ID pool of the tag, which uniquely
actions:                                                                     associates the tag with the Samsung account it is registered to. Byte
     • Helper-Tag: A lost tag broadcasts OF data that is available           12 stores the region code, encryption flag, ultra-wide band (UWB)
        to any nearby Bluetooth devices, while a Helper Device               flag, and the battery level of the tag. Bytes 16-19 store the 4-byte
        periodically scans for lost tags over BLE, and picks up the          signature for validating the integrity of the BLE payload.
        OF data from a nearby lost tag.                                      Tag State (Byte 0) Bits 5-7 of Byte 0 in the OF data of SmartTags
     • Helper-Server: After receiving the OF data, the Helper De-                store the operating state of a tag. There are six different tag
        vice would report relevant information of the found lost tag             states, inferred through a combination of reverse-engineering
        to Samsung’s server.                                                     and BLE scanning.
     • Owner-Server: The Owner device can hence download the                     The state of a registered tag becomes Premature Offline once it is
        updated location of its lost device from Samsung’s server.               disconnected from its Owner Device or rebooted. After staying
   The present section details the OF protocol for SmartTag based                disconnected for 15 minutes, the tag state would changes to
on the type of interactions involved in the protocol.                            Offline Mode, which would inform nearby Helper Devices that
                                                                        16
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 Bits 5-7   Name                        Description                                                     advertisement data uses first 8 bytes of a privacy ID. The privacy
 001 (1)    Premature Offline Mode      the tag has recently been disconnected                          pool size for SmartTags is 1000 (for the firmware version we
 010 (2)    Offline Mode                the tag has remained disconnected for over 15 minutes
 011 (3)    Overmature Offline Mode     the tag has stayed in Offline Mode for over 24 hours            analyzed), which is larger than that for FMM.
 100 (4)    Paired with one device      the tag is paired to a device                                Signature (Byte 16-19) The signature field at the end of the BLE
 101 (5)    Connected to one device     the tag is connected to a device
 110 (6)    Connected to two devices    the tag is connected to two devices                             data serves as a cryptographic checksum for the first 16 bytes
               Table 12: Operating States of a SmartTag                                                 of the BLE advertisement data of a registered SmartTag, which
                                                                                                        allows an authorized party to validate the integrity of the ad-
                                                                                                        vertisement. Let 𝑏𝑙𝑒𝑃𝑎𝑦𝑙𝑜𝑎𝑑 denote the first 16 bytes of the BLE
                                                                                                        advertisement data. Then the four signature bytes are obtained
   the tag is considered lost. After operating in Offline Mode for 24                                   from the first 4 bytes of the 𝑓 𝑢𝑙𝑙𝑆𝑖𝑔𝑛𝑎𝑡𝑢𝑟𝑒 defined below:
   hours, the tag state would change to Overmature Offline Mode.                                             𝑓 𝑢𝑙𝑙𝑆𝑖𝑔𝑛𝑎𝑡𝑢𝑟𝑒 = 𝐸𝑠𝑖𝑔𝑛𝐾𝑒𝑦 (𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝐼𝑉 , 𝑏𝑙𝑒𝑃𝑎𝑦𝑙𝑜𝑎𝑑 )
   A SmartTag in the Overmature Offline mode would slow down                                                                            | {z } | {z }
   certain computation process for power saving, which will be                                                                               IV        Plain Text
   discussed later in the section.                                                                      where 𝐸𝑠𝑖𝑔𝑛𝑘𝑒𝑦 denotes the AES/CBC/PKCS7 cipher with the
   Helper devices in Samsung’s OF network will only report loca-                                        secret key 𝑠𝑖𝑔𝑛𝑘𝑒𝑦 that was derived from the master secret
   tions of SmartTags in Offline or Overmature Offline mode.                                            during the tag registration (see §4.3). Therefore, any changes
Aging Counter (Byte 1-3) Bytes 1-3 are used to store the aging                                          to the first 16 bytes of the advertisement will likely cause the
   counter, which can be seen as the timestamp for the BLE data.                                        signature bytes to change correspondingly, which allows the
   The formula for a SmartTag to generate an aging counter is                                           integrity of the BLE data to be validated by parties with the
   𝑎𝑔𝑖𝑛𝑔𝐶𝑜𝑢𝑛𝑡𝑒𝑟 = (𝑡𝑎𝑔𝑇𝑖𝑚𝑒 − 1593648000)/900. Here the con-                                             privacy ID configuration and the shared secret of the tag, such
   stant 1593648000 is an encoding of timestamp in Unix Epoch                                           as the owner and the server.
   Time, which in this case equals July 2, 2020, 12:00:00 AM GMT.
   So the aging counter can be understood as the elapsed time                                           Advertisement Update. A SmartTag updates its BLE Data peri-
   since July 2, 2020, 12:00:00 AM GMT, divided by 900 seconds (15                                   odically. A tag that operates in any non-Overmature Offline state
   minutes). The aging counter should therefore be the same for                                      updates its privacy id, aging counter, and signature every 15 min-
   all SmartTags in sync with the server time and changes every                                      utes: a new privacy ID is selected from the privacy ID pool, and
   15 minutes.                                                                                       the aging counter increments by 1. Then, the tag recomputes the
Privacy ID (Byte 4-11) Bytes 4-11 are used to store an 8-byte                                        signature bytes based on the updated BLE payload. Under the Over-
   privacy ID, which is an unique identifier of a SmartTag. Each                                     mature Offline state, a tag updates the aging counter and signature
   registered SmartTag has a set of unique privacy IDs called the                                    every 15 minutes. However, the frequency for shuffling the privacy
   privacy ID pool. The pool is deterministically generated using                                    ID reduces from every 15 minutes to once every 24 hours.
   the 𝑝𝑖𝑑𝐾𝑒𝑦 and the privacy ID configurations (𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝐼𝐷𝐼𝑉 ,                                       4.5.2 Helper-Server Interaction. A Helper Device stores found lost
   𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝐼 𝐷𝑆𝑒𝑒𝑑, 𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝑃𝑜𝑜𝑙𝑆𝑖𝑧𝑒) that the server sent to the                                      SmartTags in a local database together with other lost FMM/FME
   owner during the finalization stage in the registration process                                   devices discovered by the Helper. The database can store a max-
   (§4.3.5). The privacy ID is an essential part of SmartTag OF                                      imum of 1000 devices using the privacy ID of the device as the
   protocol as it associates a tag with its owner’s Samsung account.                                 key. A tag is marked as expired if it has not appeared in the BLE
   The AES/CBC/PKCS7 cipher is used to generate the privacy ID                                       scanning for 15 minutes and will be removed from the database.
   pool of a SmartTag. The cipher is initialized with the 𝑝𝑖𝑑𝐾𝑒𝑦                                        The helper device will report geolocations of lost SmartTags in
   as the encryption key and the 𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝐼𝐷𝐼𝑉 as the initialization                                   the database based on estimated locations received from the WiFi
   vector. The privacy ID pool generation function uses a for-loop                                   or GPS service. Each request is similar to the one made by the
   that iterates 𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝑃𝑜𝑜𝑙𝑆𝑖𝑧𝑒 times, where each iteration forms                                   Owner Device to create an OF device profile (see §4.3.6), except
   a unique input that is encrypted by the cipher to produce a new                                   that the URL is /geolocations, as a Helper Device does not know
   privacy ID and adds it to the pool:                                                               the deviceId of the lost tag. Each location report task allows a
                   𝑝𝑖𝑑𝑖 = 𝐸𝑝𝑖𝑑𝐾𝑒𝑦 (𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝐼𝑑𝐼𝑉 , 𝑖𝑛𝑝𝑢𝑡𝑖 )                                            maximum of 5 recently found devices (𝑡𝑖𝑚𝑒 𝑓 𝑜𝑢𝑛𝑑 ≥ 𝑡𝑖𝑚𝑒𝑐𝑢𝑟𝑟𝑒𝑛𝑡 − 1
                                   | {z } |{z}                                                       (minute)) from the local database to be reported.
                                                  IV         𝑃𝑙𝑎𝑖𝑛𝑇 𝑒𝑥𝑡
                                                                                                     4.5.3 Owner-Server Interaction. An Owner Device receives loca-
     where 𝑖 ∈ [1, . . . , 𝑝𝑟𝑖𝑣𝑎𝑐𝑦𝑃𝑜𝑜𝑙𝑆𝑖𝑧𝑒) and 𝑖𝑛𝑝𝑢𝑡𝑖 is
                                                                                                     tion updates of its lost SmartTag through POST requests to an URL
               Byte 0      Byte 1        Bytes 2-9         Byte 10        Byte 11                    under the api.samsung.com domain.
            𝑖 ≫ 8 ∧ 256   𝑖 ∧ 256      privacyIdSeed    (𝑖 ≫ 8) ∧ 256     𝑖 ∧ 256
                                                                                  .
                                                                                                        Figure 7 shows an example of a location history request, with
     Each input is a 12-byte value generated by the privacy ID seed                                  some sensitive information redacted (e.g., those marked with X’s
     and the current iteration index 𝑖. Byte 0 of the array is produced                              and the UUID for the deviceId). The request is authenticated using
     by Right-Shifting 𝑖 by 8 bits, then ANDing it with 256. Byte                                    the bearer token that the owner device obtains after signing in to
     1 is produced by ANDing 𝑖 with 256. Bytes 2-9 are the 8-byte                                    SmartThings (see §4.2.1). It also contains the information about
     privacy ID seed. Byte 10 is a copy of byte 0, and byte 11 is a                                  the device Id (in the extraUri field in the parameters). For this
     copy of byte 1. The privacy ID field in the advertisement data                                  example request, the server would return a list of a maximum
     uses first 8 bytes of a privacy ID. The privacy ID field in the                                 number of 200 location reports received between 1662991200001
                                                                                                17
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and 1663077599999 (GMT time) for the SmartTag associated with a                extremely susceptible to replay attacks. All an adversary needs to
deviceId.                                                                      do is acquire a registered OF device’s lost mode advertisements,
                                                                               and then they can replay the advertisement using a BLE capable
4.6      SmartTag Removal                                                      device (not necessarily a Samsung mobile) and the advertisement
A Registered SmartTag can be removed by its owner through Smart-               will be picked up by any nearby helper OF Samsung devices. The
Things. If the target tag is connected to the Owner Device, the                adversary must make sure that the advertisements created use the
Owner Device will first perform a factory reset of the tag through             OF service UUID (FD69) and then the advertisements will easily
GATT interaction by writing the reset command (opcode 0x01) to                 pass through the helper OF device’s scan filters. The helper device
the tag.factoryReset characteristic (UUID dee30006-182d-5496-                  then parses through the advertisement data as normal, extracting
b1ad-14f216324184) under the Command Service.                                  the private ID and reporting it back to Samsung. Samsung’s servers
   The Owner Device will also make an DELETE request to the                    will then update the location for the registered OF device based off
/devices/[deviceId] URL of the api.smartthings.com domain to                   where the spoofed advertisements are, even if the actual registered
remove the online profile of the SmartTag. After the online profile of         OF device is somewhere else completely.
a tag is removed, GET request to the /chaser/trackers/lostmessage?                An adversary can record the OF advertisements observed from a
serialNumber=...&modelName=...&mnId=...&setupId=... URL would                  device to replay them at different locations of their choosing. Any
receive a 404 Not Found error response from the server, indicating             Helper Device at that location would generate a location report
that no existing profile associated with the device defined by the             for the replayed data and send it to Samsung. The adversary could
serial number, manufacture ID, and setup ID is found.                          repeatedly do this at many different locations, with many different
                                                                               advertisements, to confuse the device owner with incorrect loca-
5       SECURITY AND PRIVACY ANALYSIS                                          tions. This would effectively create a denial of service as OF users
                                                                               would receive confusing location reports, making it impossible to
We now examine security and privacy issues arising from Sam-
                                                                               locate their device.
sung OF systems, covering mobile devices (running the FMM app)
                                                                                  A possible attack scenarios is that an adversary has just physi-
and SmartTags. We organise our analysis on various subprotocols
                                                                               cally stolen a device from a victim. In the normal case, the victim
involved in the interactions between different parties involved in
                                                                               could log onto the FMM web service and receive an accurate loca-
the overall OF system. Then in Section 6 we discuss how these
                                                                               tion report for their device, allowing them (or police services) to
individual issues contribute to our overall analysis of the security
                                                                               track down the thief. However, the thief could use a network of
and privacy risks of the OF system along the line of the research
                                                                               BLE transceivers (or just one) to create a false location trail, lead-
questions we posed in the introduction (RQ1-RQ4).
                                                                               ing the victim in the completely wrong direction and making it
5.0.1    Helper Device - Offline Device Interaction.                           significantly easier to steal the device without being caught.
                                                                                  This flaw would also be extremely beneficial for an adversary
   Privacy ID Pool Size. As discussed previously, the privacy ID
                                                                               who would like to create a tracking device but does not have their
pool size for OF devices is relatively small (51), meaning that is not
                                                                               own location network. The adversary simply needs to have a legiti-
overly difficult to collect the pool of privacy ID values for a device.
                                                                               mate Samsung device and account, which is easy to do and does not
Experiments have shown that by capturing BLE advertisements
                                                                               require identification. They would then register their legitimate de-
from passively scanning, the entire pool of privacy IDs can be
                                                                               vice with OF, observing the advertising data the device produces, or
collected within a few days.
                                                                               just calculating the values themselves which would be trivial. They
   This vulnerability defeats the privacy feature for FMM devices,
                                                                               could then use an ESP32 (or similar) device to start BLE advertising
which depends on frequent update of identifiable information (pri-
                                                                               with their legitimate device’s data. This would give them a small
vacy ID) in the BLE data and the BLE MAC address of a device to
                                                                               tracking device that utilises the OF network. To access the location
prevent long-term identification from nearby BLE capable devices.
                                                                               of the tracking device, they need only log into the OF web service
An adversary can collect the privacy ID pool of a nearby lost device
                                                                               with their legitimate account. The only concern for the adversary
and permanently identify it by pattern matching the privacy ID
                                                                               would come from the tracking device being found and linked to
contained in its BLE advertisement with the pirvacy IDs in the
                                                                               their legitimate account, but if they did not provide any identifying
collected pool.
                                                                               information when registering then it would be significantly harder
   A simple mitigation method is to increased the pool size. Al-
                                                                               to identify them.
though this may create scalability issues for Samsung due to the
                                                                                  A mitigation method is to add extra fields to the BLE advertise-
increased data storage requirements for storing the privacy ID pool
                                                                               ment to ensure the timeliness and integrity of each advertisement.
of each device. Another approach is to use a different cryptography
                                                                               For instance, the aging counter and signature fields in the adver-
algorithm that allows each privacy ID to be derived deterministi-
                                                                               tisement data of SmartTags are used to ensure those two properties.
cally and synchronized between the owner and the tag, instead of
                                                                               The same implementation can be applied to the rest of the FMM
setting a fixed pool size and storing a pre-computed pool of IDs for
                                                                               devices in the OF network to limit the effectiveness of the replay
each device.
                                                                               attacks for OF advertisements.
   Replay Attacks. The OF protocol does not require a connection
between a lost device and a helper device, in order to report the lost
device’s location. The helper device only needs the lost device’s pri-
vate ID contained in its advertisements. This makes the OF protocol
                                                                          18
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POST / installedapps / XXXXXXXX - XXXX - XXXX - XXXX - XXXXXXXXXXXX / execute HTTP /1.1
...
Authorization : Bearer xxxxxxxxxxxxxxxxxxxx
...
{
    " parameters " :{
        " requester " : < requester_identifer > ,
        " clientType " : " aPlugin " ,
        " extraUri " : " / trackers / < deviceId >/ geolocations ?
                  order = asc & startTime =1662991200001& endTime =1663077599999&
                  isSummary = true & limit =200 " ,
        " method " : " GET " ,
        " encodedHeaders " : < base64_string > ,
        " requesterToken " : < base64_string > ,
        " encodedBody " : " " ,
        " clientVersion " : " 1 " ,
        " uri " : " / trackerapi "
    }
}


                                                Figure 7: An example of a location history request


5.1     SmartTags
5.1.1 SmartTag Impersonation. We have created a proof-of-concept
impersonation script for a SmartTag in python. This was created
based on the reverse-engineered findings of SmartTag’s firmware
and SmartThings.apk to allow a device with the script running to
operate like a legitimate registered SmartTag.
   To successfully impersonate a SmartTag, so that it can be regis-
tered and participate in Samsung OF network, the impersonation
                                                                                         Figure 8: The silent pairing attack for Owner Devices
would need to somehow successfully pass the finalization stage (see
§4.3.5), so that a shared secret is established between the tag and
the server. Since the tag stores private-public key pair of a legiti-
mate SmartTag is embedded in the hardware and it is not explicitly                       Unintended Silent Pairing with an Owner Device. In some circum-
exchanged in any stage of the registration process, with either the                   stances, it is possible to impersonate a SmartTag to its owner device
owner phone or the server, it cannot be obtained easily without                       and pair silently with the owner device. This attack relies on the
performing a hardware-level attack on the tag. However, we can                        following pairing behaviour in the BLE specification: if a central
still obtain the shared secret by examining the data exchanges be-                    device reads from or writes to a characteristic in a peripheral, and
tween the owner phone and the server, since this shared secret is                     gets an ’Insufficient Authentication’ error (error code 0x05), then
sent explicitly by the server to the owner phone, sidestepping the                    the central will initiate a pairing procedure with the peripheral.
need for extracting the private-public key of the tag.                                In this scenario, the attacker is the peripheral, impersonating a
   Due to the need to establish a shared secret with the server,                      SmartTag, and the central is the owner device. This behaviour was
the full impersonation of a registered tag not belonging to the                       exploited in some prior work [20, 22, 23] to initiate an unintended
attacker is a minor concern. In our experiments, this was mainly                      pairing. As noted in [23], the attacker can influence the association
useful for further runtime analyses of the interaction between the                    method for the pairing, e.g., to force a downgrade of the pairing
owner’s phone, the helper devices and the (impersonated) tag. For                     method to an insecure one (i.e., the Just Works association method).
example, we could modify the impersonated tag to always advertise                     For the attack to work, the adversary needs to impersonate the
in OFFLINE mode and observe the response of helper devices and to                     GATT profile of a SmartTag and replay the latest BLE advertise-
examine the behaviour of the anti-tracking algorithm implemented                      ment of the SmartTag to be impersonated to trick the owner device
by Samsung.                                                                           into initiating the BLE Authentication process with the tag. As
                                                                                      described in §4.3.1, the BLE authentication starts with the owner
                                                                                      device writing to the NONCE_CHAR of the SmartTag’s GATT server.
                                                                                      Therefore, by setting the write permission for the NONCE_CHAR of
5.1.2 Owner Device - Tag Interaction. We now examine the subpro-                      the impersonated GATT profile to encrypted-write would trigger
tocols that involve an owner device and a tag it owns. Assuming                       the ’Insufficient Authentication’ error upon write request to this
that                                                                                  characteristic. Figure 8 provides a summary of the attack flow.
                                                                                 19
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   In most versions of Android prior to November 2020 patch,11                      Thus, an adversary in proximity to a registered SmartTag can
the pairing is performed silently whenever Just Works is used [20].             abuse the DFU feature to interfere with the OF operation of the tag
Some of the older models of Samsung devices, e.g., those running                by repetitively forcing it to enter the DFU mode.
Android 8 or earlier versions, are vulnerable, since the Nov 2020                   In addition, this attack allows an adversary to reveal the identity
patch was not available for those devices. For example, we found                MAC address of a registered tag. In application mode, the identity
that Samsung Galaxy 7, which has the September 2020 patch in its                MAC address 𝑎𝑑𝑑𝑟 1 of a registered SmartTag is hidden by RPAs.
final firmware update, is vulnerable to this attack. But even with the          When the tag operates in DFU mode, the static MAC address 𝑎𝑑𝑑𝑟 2
patch, the attacker could still trick the owner to accept the pairing           it advertises on equals to 𝑎𝑑𝑑𝑟 1 plus one, e.g., if 𝑎𝑑𝑑𝑟 2 is observed to
request via social engineering.                                                 be 11:22:33:44:55:66, it can be inferred that 𝑎𝑑𝑑𝑟 1 is 11:22:33:44:55:65.
   If this attack succeeds, the attacker would posess the IRK and the
identity address of the owner’s phone, which would allow the at-                   Unintended bonding with a SmartTag. The update to firmware
tacker to track the owner’s phone. For example, if the owner’s phone            1.02.06 introduces a new vulnerability that was not there in the
advertises a GATT profile, the IRK can be used to de-anonymize the              previous version. The SmartTag with this new firmware appears
BLE MAC address used in the advertisement. If the owner’s phone                 to accept pairing request, using the Just Works association mode.
does not advertise any GATT profiles, in most Android phones, we                This allows the attacker to obtain the IRK and the identity address
found that they will still respond to a ‘ping‘ request at its identity          of the tag silently without alerting the owner device.
address, if its Bluetooth adapter is turned on.                                    The IRK can then be used to resolve the RPA the tag uses when
                                                                                advertising its payload. The IRK appears to be persistent across
5.1.3 Helper Device - Tag Interaction. We now examine the interac-              reboot and across account switching. So removing the tag from
tions between a tag and another device that is not the owner device             a Samsung account and pairing with another account does not
(e.g., a helper device or an adversary controlled device).                      reset the IRK. The possession of the IRK allows a more stealthy
                                                                                tracking of the tag, as the attacker does not need to connect to tag;
   GATT server leaking sensitive data. We have found sensitive infor-
                                                                                they simply observe the RPA used to advertise the payload and
mation leaked by two characteristics under the onboarding service
                                                                                de-anonymise it using the IRK. This can even be done offline, e.g.,
(UUID FD59): the IDENTIFIER characteristic contains the identity
                                                                                the attacker can collect the results of passive scans in a log file, and
MAC address/serial number of a tag, and the HASHED_SERIAL_NUMBER
                                                                                later de-anonymises the RPAs found in the log.
characteristic contains the SHA256 hash of the serial number. Both
values are static and unique for each tag and readable by any con-
nected device.                                                                  5.2     Shared Vulnerabilities
   The SUPPORTED_CIPHER characteristic under the authentication                 The next two vulnerabilities apply to both FMM devices and Smart-
service is readable and writable. It contains a default value: “AES_-           Tags.
128-CBC-PKCS7Padding", which specifies the cipher being used
during the BLE authentication procedure. It has been observed that              5.2.1   Helper Device - Lost Device Interaction.
writing custom values to this characteristic would overwrite the
                                                                                   Fake Location Report by Helper Devices. The HTTPS communi-
default value that persists until the tag is restarted.
                                                                                cation involved in the location report process is secure. However,
   Therefore, an adversary in proximity to an advertising SmartTag
                                                                                it was possible for a malicious owner of a Helper Device to gain
can use either value as the identifier to de-anonymize the identity
                                                                                the MitM position without breaking the HTTPS communication.
of the tag.
                                                                                This can be done by setting up a proxy server between the Helper
   Hence, an adversary in proximity to a tag can overwrite this
                                                                                Device and the remote server using tools such as BurpSuite.
characteristic with a custom identifier (i.e., tag1, tag2) and use it to
                                                                                   If a lost tag is nearby, the adversary’s Helper Device would pick
de-anonymize a tag.
                                                                                up the BLE data broadcasted by the tag and prepare to issue a legit-
   DFU device reboot. The Galaxy SmartTag has a DFU Service                     imate location report request to the chaser domain of Samsung.
(UUID FE59), which uses the Buttonless Secure DFU service module                   With the Burp proxy server, the adversary can intercept this
from Nordic Semiconductor. This service is intended to be used                  location report request and send it to the Burp repeater tool to
for secure over-the-air firmware updates. Any device can make a                 modify certain parameters of the location report, allowing a fake
SmartTag enter the DFU mode by:                                                 report to be submitted to the server.
     • enabling Buttonless DFU characteristic indication                           For instance, the adversary can customize the latitude and longi-
     • writing byte 0x01 to the Buttonless DFU characteristic                   tude values so that when the Owner Device receives the location
                                                                                update, their lost tag will appear in the wrong place on the map, as
   In DFU mode, the tag advertises on a Random Static MAC ad-                   shown in Figure 9.
dress with the device name "DFUTarg" and waits to receive new
application firmware packages over-the-air. If no data is received              5.2.2   Online Helper Device - Server Communication.
over a short period, the tag will reboot into the application mode
and resume its regular operation. It takes approximately two min-                  Location Tracking by Service Operator. The OF protocol design
utes for a DFU mode tag to reboot back into application mode if no              for SmartTags allows Samsung, as the service operator, to track the
firmware package was received.                                                  locations of devices in the OF network using sensitive information
                                                                                stored on the server/presented during the server communication
11 See https://source.android.com/security/bulletin/2020-11-01                  process.
                                                                           20
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                                                                                      An FMM device advertises identifiers chosen from a determinis-
                                                                                      tically generated small privacy pool (size 51). Experiments have
                                                                                      shown that an adversary can collect all 51 identifiers within a
                                                                                      few days through BLE passive scanning and pattern match the
                                                                                      identifier broadcasted by the device with collected identifiers to
                                                                                      de-anonymize the device in the future. The SmartTag has a larger
                                                                                      privacy ID pool, so the attack for FMM devices no longer applies.
                                                                                      However, we have found that the SmartTag’s GATT server leaks
                                                                                      static and unique data, which can be used as the identifier to de-
                                                                                      anonymize an advertising tag (see §5.1.3).

                                                                                          (RQ2) Unwanted tracking. There have not been any mature
                                                                                      tracking prevention technologies to protect people from malicious
                                                                                      trackers that leverage Samsung’s OF network. Samsung Smart-
                                                                                      Things app has a feature that allows the user to scan for unknown
Figure 9: Fake location being updated on the Owner Device                             SmartTags, and with the latest SmartThings app (version 1.7.89.25
                                                                                      at the time of writing) it supports background scanning as well.
                                                                                      We have not yet analysed this feature completely. Our limited pre-
   Samsung can access the reported locations of any SmartTag. The                     liminary tests showed that it did trigger alerts of unknown tags.
shared secret, privacy ID configuration, and other data provided                      However, it does not seem to support detection of offline devices
by Samsung’s server during the registration phase of a tag allow                      other than SmartTags, so potentially, an adversary could create
Samsung to associate each location report with the online profile                     a custom tracking device that simulates lost phones rather than
of the tag by matching the private ID in the BLE data contained in                    lost tags. We have not yet tested this possibility. We also note that
the report with all the private IDs stored in its database. Then, the                 this unknown tag scanning feature is only accessible to users with
server can associate the online profile with its owner’s Samsung                      the SmartThings application and a Samsung account, leaving users
account. This capability has been confirmed by our analysis of the                    of phones from other vendors at risk. However, our analysis also
location pulling process (see §4.5.3). The location request data sent                 uncovered several ways in which a tag can be identified, relatively
by the owner device contains the bearer token and the deviceId                        easily in comparison to AirTags, as addressed in the RQ1 above. We
that can be linked to the owner’s account. After the Owner Device                     have implemented a proof-of-concept tool to identify unwanted
makes a location pulling request, the server responds with a list                     tracking for different types of Samsung OF devices based on our
of GPS locations and timestamps, which indicate that the server is                    findings.
able to associate those location reports with the provided deviceId                       We note that the answers to (RQ1) and (RQ2) may appear con-
and the bearer token.                                                                 tradictory on the surface, as measures to prevent the identifica-
   The location reporting process also leaves owners and helpers                      tion of an OF device may work against the measures against un-
in the OF network vulnerable to potential location tracking from                      wanted tracking prevention. In the case of Samsung OF, because
the operator. For a tag connected to its Owner Device, the Owner                      the Samsung cloud server can link the advertisements broadcast by
Device would act as a reporter that frequently reports the tag’s                      a malicious tag to its owner, Samsung is in a position to identify
location to the server. When a tag is lost, nearby Helper Devices                     definitively the case of an unwanted tracking, and in principle can
would report its location to the server. To send a location report,                   disable the tracking support for the malicious tag (although we
the Helper Device must first obtain a JWE token, which is valid                       currently do not know whether such a feature exists on the server
for 32 hours, and attach that token in its location reports. So all                   side) and attribute the unwanted tracking offense to a particular
location reports within this 32-hour period can be all linked to the                  Samsung account. This is not possible with Apple Find My network
same device.                                                                          and AirTags, as due to the end-to-end privacy feature of Apple Find
   We note that the process for obtaining a JWE token involves                        My protocol, Apple OF network cannot link the BLE advertisement
answering a challenge from the server, by encrypting a nonce,                         of a malicious tag to its owner to allow for a targeted prevention.
chosen by the server, with a private signing key stored in the Helper                 Although it is possible to identify the owner of an AirTag through
Device. It is not clear how unique this private signing key is. Our                   its serial number, this would require physical access to the tag and
very limited tests show that at least two distinct phones seem to                     it assumes that it is a genuine tag, so not a custom tag (that can be
share the same signing key, so this limits the possibility of using                   created through, e.g., the use of the OpenHaystack framework).
the signature as an identifying information.                                              However, from [8, 14, 19], we know that with lost AirTags, the ad-
                                                                                      vertisement data and the MAC address of the tag rotate infrequently
6    DISCUSSIONS                                                                      (around 24 hours or so), which helps in determining whether a (lost)
We now discuss the impact of our findings in terms of addressing                      tag is indeed tracking a particular user through its MAC address
the research questions we posed in Section 1.                                         or advertisement data. In the case of lost FMM devices, the adver-
                                                                                      tisement data and the MAC address of the tags rotate in sync and
  (RQ1) Identification of an FMM device or a SmartTag. Both FMM                       relatively frequently (around every 15 minutes), so it is generally
devices and SmartTags can be identified through their BLE behavior:                   difficult to determine unwanted tracking based on advertisement
                                                                                 21
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data or MAC address alone, especially in a crowded environment                 can still participate in the OF network. Existing users of Smart-
with multiple lost devices around. With SmartTags, the situation               Tags and other FMM devices who have the option to upgrade the
is a bit mixed. For SmartTags in an overmature state, the privacy              firmware/apps on their devices are encouraged to do so to mitigate
ID rotation is less frequent and seems to match that of AirTags,               some of the issues we discuss here.
so it will be relatively easy to distinguish such a tag from other                Among the issues we discussed, of great concern is the possibility
tags around. However, as with AirTags, an attacker could create a              of using SmartTags and similar trackers, such as AirTags and Tile
custom tag that rotates its privacy ID frequently enough to avoid              trackers, or even custom tracking devices leveraging on these offline
its advertisement data being linked.                                           finding networks for unwanted tracking. The current fragmented
    (RQ3) End-to-end location privacy. The OF protocol design allows           approach to anti-stalking features leaves a significant number of
the service operator (Samsung) to access the reported locations of             people vulnerable to unwanted tracking without an effective mean
any OF devices (FMM devices and tags) and associate the locations              for detecting it. For future work, we plan to investigate ways to
with the device owner through the sensitive data stored on the                 detect unwanted tracking that are effective against a variety of OF
server, e.g., encryption keys and privacy configurations. Moreover,            networks, leveraging on existing efforts such as AirGuard [14].
helper devices are also vulnerable to tracking, as each location
report contains a JWE authentication token issued by the location              REFERENCES
server that is unique for each helper device and can be linked for              [1] Apple. 2022. Find My and Privacy. https://www.apple.com/au/legal/privacy/
an extended period (see §4.2.3).                                                    data/en/find-my/ Accessed 01-Oct-2022.
    (RQ4) Location report integrity. Our tests indicate that both the           [2] Daniel J. Bernstein. 2006. Curve25519: New Diffie-Hellman Speed Records. In
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helper devices and the location server do not check whether a loca-                 and Practice of Public-Key Cryptography, New York, NY, USA, April 24-26, 2006,
tion report accurately reflects the actual location of a lost device.               Proceedings (Lecture Notes in Computer Science, Vol. 3958), Moti Yung, Yevgeniy
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The helper device, when scanning for lost devices, does not at-                     org/10.1007/11745853_14
tempt any validation on the scanned device whether it is a genuine              [3] Luca Bongiorni. 2021. Samsung SmartTag Hack. https://github.com/whid-
Samsung phone or a genuine SmartTag; as long as the BLE adver-                      injector/Samsung-SmartTag-Hack.
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tisement data is in the expected format, it will be forwarded to the                Energy Devices Based on the Generic Attribute Profile. In Proceedings of the 2nd
location server. The location server validates that the BLE advertise-              International ACM Workshop on Security and Privacy for the Internet-of-Things,
ment data is genuine, i.e., that it belongs to a device of a registered             IoT S&P@CCS 2019, London, UK, November 15, 2019, Peng Liu and Yuqing Zhang
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user, but it assumes that the helper device has reported the location           [5] Guillaume Celosia and Mathieu Cunche. 2019. Saving private addresses: an
truthfully. From our tests, it seems that the location server does                  analysis of privacy issues in the bluetooth-low-energy advertising mechanism. In
                                                                                    MobiQuitous 2019, Proceedings of the 16th EAI International Conference on Mobile
not attempt to perform any further validation; for example, it is                   and Ubiquitous Systems: Computing, Networking and Services, Houston, Texas, USA,
possible to create two location reports for the same tag that show                  November 12-14, 2019, H. Vincent Poor, Zhu Han, Dario Pompili, Zhi Sun, and
the tag is detected within seconds of each other at two locations                   Miao Pan (Eds.). ACM, 444–453. https://doi.org/10.1145/3360774.3360777
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that are geographically so distant that it is practically impossible                Data Leaks in Apple Bluetooth-Low-Energy Continuity Protocols. Proc. Priv.
to reach one location from another within the time frame it was                     Enhancing Technol. 2020, 1 (2020), 26–46. https://doi.org/10.2478/popets-2020-
detected. This can be achieved, e.g., by relaying BLE data from a                   0003
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vices and SmartTags have been thoroughly analyzed, and a security                   1055638
and privacy analysis was performed. Our analysis of the protocols’             [11] Core Specification Working Group. 2021. Bluetooth Core Specification. (2021).
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design and implementation has identified several flaws, allowing               [12] Samsung Group. 2022.            Samsung SmartThings Find Hits New Mile-
each of the research questions to be answered definitively.                         stone With 200 Million Nodes Helping Find Lost Devices.                     https:
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   We have also discovered vulnerabilities outside the scope defined                with-200-million-nodes-helping-find-lost-devices. Accessed: 2022-07-28.
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flaw in the registration protocol that allows an attacker to register               Protecting Android Users From Stalking Attacks By Apple Find My Devices.
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devices with FMM versions below 7.2.24.12 were used in our analy-                   227–245. https://doi.org/10.2478/popets-2021-0045
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software have not been investigated in detail here. Therefore, some                 2019. Handoff All Your Privacy - A Review of Apple’s Bluetooth Low Energy
of our findings and analysis results may not apply to devices/tags                  Continuity Protocol. Proc. Priv. Enhancing Technol. 2019, 4 (2019), 34–53. https:
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